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                                 #:10098




                       EXHIBIT U
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Transaction history

                   Check                                                                                Deposits/   Withdrawalst     Ending daffy
    Date<      Numbar Description                                                                         Credits          De<bits       balance
    11/1                   WT Fed#01027 First Republic Ban /Org=Henry N Janno! A Prof                  50.000.00
                           Cor!-'X)Illf Srf# 111101130519CT24 Tm#111101122869 Rfb#
    1111                   Wire Trans Svc Charge - Seq~,~ern;:e: 111101122869 Srf#                                          15.00      74,500.86
                           111101130519CT24 Tm#111101122869 Rfb#
    1112                   Online TransferRaf#lbetk4Vbm9 to BuslnessChecking From lA                                    3,000.{}:l
                           tot<jm
    11/2                   Anthem Bfuecross Tel Pmt 111102 xxxxx1504 Sara L Bergstein                                    1,450.00      70,050.86
    1113                   Anthem Be RA-()2Q1C"01 111102 000000268197219 Integrated                                     2,484.00       67,566.86
                           Admlnlstrat
    11/4            1042   Cashed Check                                                                                 3,429.01
    11/4            1494   Cashed Check                                                                                 4,650.00
    11/4            1047   Check:                                                                                       6,581.18
    11/4            1045   Che(lk                                                                                        3,249.52
    11/4            1043   Check                                                                                        3,242.54
    11/4            1048 Check                                                                                          2,261.55
    11/4            1044 Check                                                                                          1,204.138      42 946.16
    1117            1046 Che(lk                                                                                           674.39
    1117            1~2 Check                                                                                             479.12       41,794.67
    11/6            1403 Check                                                                                           5,500.00      36,294.67
    11/10                WT Fed#G1008 First Republic Ban /Ory=Henry N Jannol A Prof                   100,000.00
                          Corporat $rf# 1111101l1605CT24 TIJ1#.111110111569Rfb#
    11/10                 Wlre Trans Svc Charge- Sequence: 1111101 '11569 Srf#                                              15.00
                          11111 0131805CT24 Tm#11111 0111569 Rfb#
    11/10                 Online TI'Ofl1.lfw Ref #lbefxymqfm to BuslneetJ Chadtlng From lA                            100,000.00       36,279.67
                          toKjm
    11/15                IRS Usataxpymt 111511 2701719143625131ntegrared                                               19,766.25
                          Admlnlstrat
    11/15                Employment Devel Edd Eftpmt 111511 0061$38                                                     4,799.51
                         Txp*00013636"011 {W111 021"T"73525"T*400426"T'4799
    11/15                Employment Devel Edd Eftpmt 111 511 00613638                                                     139.78
                         Tx~"'0613638"0 1300"11123 f"T*13579"l*399"T .. 1397a"W
    11/15                IRS Usataxpymt 111511 270171905894241 Integrated                                                  29.09
                         Administrat
    11/15                Employment Devel Edd Eftpmt 111511 00613638                                                         7.65
                         Txp"'0613636"0 1300"111231""T'744.,.*21 "1"*1'65"\'Veb"'\
    11/15                Employment Devel Edd Eftpmt 111511 00613638                                                         2.63      11,534.76
                         Txp"'OS13638"011 01"111 025*T'263"T"OO"T"263'Web'\
    11/18                WT Fed#00647 First Republic Ban /Org=Henry N Jannol A Prof                   290,000.00
                         CQrpor~ Srf# 11111S105827CT24 TIJ1#.1111160B7Q62Rfb#
    11/18                Wlre Trans Svc Charge- Sequence: 111110087962 Srf#                                                15.00
                         111118105827CT24 Tm#11111SOa7002 Rfb#
    11/18                Online TronsfwR~f#lbexg9Zd5C to BuslnesaChecklng From lA                                    242,500.00
                         toK"
    11/18          1465 Check                                                                                           4,650.00
    11118          1051 Ch~c:k                                                                                          '1,204.88      S3,164.8S
    11/21          1466 Check                                                                                           9,000.00
    11121          1054 Check                                                                                           6,581.18
    11/21          1052 Check                                                                                           3,249.52
    11/21          1050 Check                                                                                           3,242.54
    11/21          1055 Check                                                                                           2,261.5-5
    11/21          1053 Check                                                                                             674.39      28,155.70
    11/22          1049 Check                                                                                           3,429.01      24,726.69
    11/23                WT Fed#64092 Pershing LLC IQrg::Swartz lp Services Group Inc                150,000.00
                         2425 C Srf# Fts1111232536800 Tm#111123fr~769 Rfb#
    11/23                Wire Trans Svc Charge -Sequence: 111123096769 Srf#                                                15.00
                         Fts1111232536800 Tm#111123096769 Rfb#
    11/23                Online Transfer Ref #lbemr6Bspl to Business Checking From II\ to                            100,000.00
                         Kjm
    11/23          1407 Check                                                                                         50,000.00       24,711.69
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Transaction history (continued)
                              Check                                                                                     Deposits/           Wirhdn:~walsl      Ending daily
       ruto                 Number Description                                                                            Credits                     Debits       balflnoe
       11/29                       wr Fed#00136 Pershing LLC /Org=Swartz lp Services Group Inc                        300,000.00
                                   2425 C Srf# Fts111129947 4200 Tmt#11 'I 129126905 Rfb#
       11/29                       Daeosit                                                                             15,000.00
       11/29                       Wire Trans Svc Charge- Seque~: 111129126005 Srf#                                                                   15.00
                                   Fts1111299474200 Tm#111129126905 Rfb#
       11/29                       Online Transfer Ref #lbemr7Dv7T to Busi11ess Checking From lA                                              100,000.{)0
                                   toKjrn
       11/29                       Online Transfer Ref #lbeqna><~ns to Complete Advantage{Rm)                                                  15,000.00
                                   From lA to K Jam House Rerum of Advance
       11/29                       Withdrawal Made In A Branch/Store                                                                            6,000.00
       11/29                       Withdrawal Made In A Branc:h/Slore                                                                           9,000.00
       11/29                  1468 Check                                                                                                        7,000.00        202,696.69
       11/30                       Wire Trans Svc Charge- Sequence: 111130141407 Srf#                                                              3-0.00
                                   0000611334569951 Tm#11113Q1414fJ7 Rfb#
       11/30                       Wire Trans Svc Charge- Sequence: 111130143604 Srf#                                                                 30.00
                                   0000611334753001 Tm#111130143604 Rfb#
       11/30                       Online Transfer Ref#lbexgd72Yq to BuslnessChecklng From lA                                                   4,000.00
                                   toKJm
       11/30                       Withdrawal Made In A Branch/Sbe                                                                             25,000.00
       11130                       WT Fed#080B9 Bank d Amertca, N /Ftr/Bnf=Gray Box LLC Srf#                                                   30,000.00
                                   0000611334669951 Tm#11113Q1414Q7 Rfb#
       11130                       WT Fed#08867 Citibarn, NA /Ftr/Bnf<:Eugene Scher Atf The                                                    40,000.00
                                   Ber~tein Sri# 0000011334753001 Tmi¥111130143604 Rib#
       11/30                  1473 Check                                                                                                       11156.80
       11/30                  1066 Check                                                                                                            941.25
       11/30                       C~~h Deposited F~e                                                                                                 20.00       91,516.64
       Endlng balance on 11130                                                                                                                                   91.518.64
      Total&                                                                                                     $905.000.00               $831,9$7.22
      The Ending Daily &fane& does not raffact arty panding wfthr:Irswals or ho.fds on deposited funds that may have bsen outstz;nding on your account wh&n your
      transactiOns posted. If you had irtsufflcient available funds when a transaction posted, fees may have been assessed.



Summary of checks written (checks listed are e/so displayed in the preceding Transaction history)

      Numb(#'               Date                 Amount        Number            Date                  Amoum              Number                Dale               Amount
       1042                 i1/4                3,429.01       1050              11121                3,242.54            1463                  11/6              5,500.00
       1043                 11/4                3,242.54       1051              11/18                1.204.88            1-464                 11/4              4,650.00
      1044                  i1/4                1,204.8B       1052              11/21                3.249.52            1465                  11118             4,650.00
      1045                  1114                3,249.52       1053              11/21                 £74.39             1466                  11121             9,000.00
      1046                  1117                  674.39       1054              11/21                6,581.1S            1461                  11/23            50,000.00
      1047                  11/4                6,581.18       1055              11/21                2,261.55            146S                  11/29             7,000.00
      1048                  1114                2,261.55       1066.             11/30                 941.25             1473.                 11/30            11,156.80
      1049                  11/22               3,4:29.01      1462 ....         11{7                  479.12

       " Gap in check sequence.



Account transaction fees summary
                                                                                              Units        Excess            S6Nfcf.l   charge per             TotalseJVfce
      service charga desetfption                                    Units usad           inCII.Jded         units                  excess units ($)              Oharge ($)
      Cash De1:2Qsitad ($~                                             15.000               5.000         10.000                            0.002                    2ll.OO
      Paid and Deposited Items                                             31                 150                {)                          0.50                     ti.OO
      Total service eharges                                                                                                                                        $20.0(}




    Sheet~= 0007448
    Sheet 00002 of 00il03
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~IMPORTANT ACCOUNT INFORMATION
lnfonnation regarding fees for services you may use with your account

·Audit Confinnation -$40 per request
~ Non-Customer Check Cashing - $7.50 each
- Acoount Research- $25 per hoor ($25 minimum}
~cashier's Checks- $10 each
-Document Copy Fee/Other Requests- $5 per item (Self-$erve Requasts remain at no charge}
- Mooey Orders - $5 each
-lntemation.al Item Deposited- $5 per item
~ Stop Payment - $31 each


Wite Transfers:
·Incoming DomesticJintemal Transfer- $15 each
~Incoming International U.S./Foreign Currency· $16 each
- Outgoing Domestic/lnt$nal Transfer. $30 ~ch
~ RepetitiveOutgoing DomeS(ic/1 nternal Transfer - $25 each
-Outgoing lnternatlcmal U.S. Currency- $45 each
~Repetitive Outgoing International u.s. Curtei'ICy- $40 eaCh
- Outgoing lntamatlonal Foreign Currency- $35 each
~ Repetitive Outgoing lntemat!onal Foreign Currency - $30 each
-Outgoing Book Transfer- $15 each
~ Repetitive Outgoing Book. Transfer ~ $1 0 eadl


For questions, ccntact your Business Banker or call the phone number at the top of your statement PriCing may vary based on ao::ount
relationship.
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General statement policies for Wells Fargo Bank

• Notl«: Wells Fargo Bank, N.A. may furnish information about accounts                    You must describe the specific Information t~t Is Inaccurate or In dispute
belonging •o I ndlvid~.~<~ls. including sole proprietorships, to o:msumer                 and the basis for any dispute with supportin-g documentation.. In tile case of
reporting agencies. lfthls applies to you, you have the rlght to dispute the              Information that relates to an idantlty theft, you will need to provide us with
accuracy of lnformatk;m t~t we have reported by writing to us at: Overdraft               an ldentltytheft ~port.
Cal lectlol"l$ Bnd R&.JOvery, P.O. Box 5008. Portland, OR 97200-5058.



Account Balancwa Calculation Work$heet                                                        Number                       Items Outstanding                          Amount
1.    Use 'he following worksheet tf:l calculate your overall oocount balance.

2.    Go through your register and mark each check, withdrawal, ATM
      transaction, payment, deposil or otharcredil iisled oo your statement
      Be svre th;.i( your register shows any interest paid into YQur account and
      any service charges, automalc payments or ATM transaction& withdrawn
      from your account during this sta~ment period.
3. Use the chart to the rlght to list any deposits, transfers to your account.
   outstandirg checks, ATM withdrawals, ATM payments or any other
   withdrawas (including ar~y from previous month~>} whic.~ am listed in
   your mgister but nol shewn on your statement.

ENTER
A. The ending balance
   shown on your staten1ent. . . . . . . . . . . . . . . . . . . . . . . $ _ _ _ _ _ __

ADD
B. Any deposits listed in your                                      $    _ _ _ _ __
     register or tral15fers into                                    $    _ _ _ _ __
     ycur aoGOUnt wtlidl are not                                    $    _ _ _ _ __
     shown on your statement                                      + $    _ _ _ _ _ __

     ..••.•....•..••...•..••.......••..•.•. :nJLAL                  $ -------

CALCULATE THE SUBTOTAL
     (Add Pa!WA and B)

     ...................................... :roTAL $ - - - - - -

SUBTRACT
C. The total outstanding chooks a~.d
     wilh<irawa~ from the chart above. . . . . . . . . . . . .    - $ -------

CALCULATE THE ENDING BALANCE
  (Part A + Part B- Part C)
  This <mount should be the same
     as the current balar.::e shown in
     your clleck register _.



                                                                                                                                             Total amount $




~010   Welts Fargo Bank, NA Nf rights re$eiY;,d. Member FOIC.    NMLS~   fD 399$01




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       Sh!let ~ 0007 449
       Sheet 00003 of 00003
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Transaction history

                                    Check                                                                                                                                                           Withdrawals/                             Ending daily
    Date                          Number Description                                                                                                                                                           ~bil$                             balance
    12f1                                    Online Transfer Ref #fbeqn9Rrl3 From Business Checking From                                                         .2.100.00
                                            KjmloiA
    1211                    ------ -1472--ci1~~<:------- -                                                                                       · - ---·-- ·                                            -14,3oc>:oo·-------- - ---·----
    f2i1-· -                ----~f476Chack____                             ----···--··-·-····-·-·--··-- ·--··--······· ·---··-······-··--·---········-------- · --4,escfrnf ___ _
    i2n········                           1osf.. check.                  · ··· ......... · ·············· ·                                                     ·········· · · · · ····· · · ·~•-••- ···sos_:_ 50_·_·_·_·_.··..·.·_···-···--··--"-4___•__
                                                                                                                                                                                                                                                       163__.1____4____
    f2i2_____ ·------1469Chfiek·-- - . -----·-·--····-······-··-···- ---···--- .                                                                 .----·-···---------                                     -7,000.00                       -
    12l2 ____ • •-    '"-"'1'001--Check"--•---•
                       0
                           ••--·----                                H-   m •-n·---·•--···-·•   • -----····-·• •• --··--- "•   -~                                 _____ ., ,.,_,, '' --• ·--- ••-•        -••••~249~52      ··--•·---·--·••••••••-..•••--··--•••
    1212_____ ·-··------·-ioo9CI1eck·--···-··- ---------···-··-----------------···----------------·-···                                          ·---···-·--··-- ·-----··-··---··-··-                ··-·-3,242·~·54·--------·-··-··-·-·----                     . -·-
    12/2                                 1060 Check                                                                                                                                                        {204.86 · ·                          59,400:.2{1
    12/5-· -- ---                      ----··---wifeTrans svc 01ar99=--8eQuenCS:-111205f24835 srfif_____                                         ·-------                                            ·   --30~oo·------·------

                                     oo00611339537802 Trn#111205124835 Rfb#
    12{5                    -~ - - -wr·Fed#ooo76 City NaUOOal Bank7Fif!Bnr";weinteraub andSelth-                                                                                                         10,000.00
                            -~
                                     Apc Attorney -Srf#
                               -1063Check:--            - - ·····- ·- Trn#111205124835
                                                      - 0000611339537802                 Rfb#
                                                                          --.-- --······ ----                   --~

    12/5                                                                                                                                                                                                   6,707.54
    121s ___ _                           1ci58-·ci1eck                                                                                                                                                     3,429.01
    12fS                                 1oo.iCheck-                                                                                                                                                       .2,261.55
    i2i5                               ·· 1002 ·check.                                                                                                                                                       ·e7~d9          ·
                                                                                                                                                                                                         -----
    1216--                                       ~r)QsitMad~ InA BrancWStore ·-
                                                                                                                                                                                                                             -~~


                                             -                                                                                                               25£l.~-~ ...              --- ·-·
    12/8____ -                                   ---wireirari~isvc.6ha-r9Ei--$eQuence:                         H12&\1o0493sli#·                                                                                30.00
                                                    0000611342.709042 Trn#1112{)8100493 Rfb#
    1·21a······· ·                     ··· ··· ·· ·····Vii Feci~04832. cny··NaiiOOai·aar;k:iP:tiiBfi~J"am~ ·iri~··Srt#
                                                    0000611342709042 Trn#111208100493 Rfb#
    12/9                                         ---wire tiariS-svc Cllargi;-= SeQuence: H12o907253i srm·                                                                                                      30.00
                                                    006585934393.2152 Trn#11120007.2537 Rfb#
    12/9             · ··· · ···•·· · ··>< .... · ·····wire·Tra·ns·svc·Chargi·~·sequence·:                    . fii2·oso72539·srm                                                                              30.00

    12/9
                                             - ___ Q\1~-~-~!?~~-~?.:!.~?..J.~t:Jt.!~~- ~-~~?..2.?~-~f~·-·--··-----·· -·····--··---·-- . ··- ---··--····
                                                   Wire Traoo Svc Charge - Sequence: 111209073095 Srf#                                                                                                         30.00
                                                   0065859343515152 Trn#111200073095 Rfb#
                                                 ·····w-r·st:J(i#72537Ht:!Wi1QerM8di8;·ud /BnF-HettirigerM~;a,uei···                                                                                     ·5cUlim.oo ···
                                                   Srf# 0065859343932152 Tm#111209072537 Rfb#
    12/9                                           Online Transfer Ref #lbefy6Zwlf to Business Checking From lA to                                                                                       44,000.00
                                                   Kjm
                                                 ····· 6nlinetransferRet-.#li>eJV8Kii)7 to 8uSirie&& Market Rate.savii19&                                                                                4o:aoo.oo ·
                     _ ------··- . ____ !:l_l?!_ll.l~-~~-l:(j!_~~~~~!..~.'=#l~-~-'!!~~-~?._~-- _____ ------·· ·----------- ___ ---·----· ···------ --·-- ---·····                                                                       --
    12/9____ ·                                     WT Fed#04616 Bank of America, N IFtr/Bnf=Graybox LLC Srf#                                                                                             -4o;ooo~oo··------

                                                   0065859343515152 Trn#111200073095 Rfb#
                                                   Tm ~ed#64439 citlbaflk:. NA/Firiani=Eugene SctierAif rtie.                                                                                            w:·ooo.oo · ·                          45,974.01
                                         .. -···---~~t~~f!_'!~~~-~?~~~~~~~1-~. T!!l~~~!?.Q§IQ?~~~~~--                                                        ''15,(5()()~00    -· __.. ___   ··-~    . -.. ·-----.. ··-.. -· --·---- . . --..
                                                                                                                                                                                                                                        ·~--·       ·~--.---   .. -·.
    12/14                                          onnne Transf$r Ref #lbex:ghgrph From Buslnese Chack.lng From
                                                   Kjm lo !A to Cover Wire
                                             · · ······wfre-t;:~·ri$··svc Charge· ~·sequence:· H1214.114tes s·rm                                                                                           ····w:oo ·
                                                  0000611348723003 Trn#11121411476S Rfb#
    12114                                    -·-··--wfiied#oo1-29san~~or:Ame-rii:a~-·tiiFfiBiiF-ouncarrOiisrt#·-----
                                                   ooooo11348723003 Trn#111.214114768 Rfb#
    1·2Hif···                                ·· ·····oePO-s~-M~de. iil.A: EirancwSiOr:e··H· ·· ··· ····· ·····
    12115 -                                  - !Rs-usataxpymt121sTI27on4oo2901523Tiiie1;irated                                                                                                           19,506.54
                                                 Admi nistrat
    12{15                                    -   -erl1~oyment oevefEdd Eitpmt 121611o06f363s--                                                                                                            4,765.96
                                                   Txp"'0613638..011 01 .. 111118'T"72212~404384*T"4765
    12/15                                    - IRs usaiaxpymt121511. -27o17499335909ffniegrated                                                                                                               71.19
                                                   Adml nl9trat
    12/15                                        ~PioYRient DeielEddEitpmt 121511606f36js-                                                                                                                    52.50
                                                   Txp"'0613638.D1300* 111231'T"5100•T" 150"T*5250*Web
    12/15                                    - ~plo}lmeniiJevei"Erl(JEitPmt 121s11oosi363s___ ·· · - - -                                                                                                      1&.32
                                                   Txp"'0613638..01300* 111231"'P1780~52"'P1832•Web*
                                         .   -··~·-EniPiOYnienfoeY8iEddEftPmt                        1215ff0o613638----··-..        m·--···-·-   -···--·--···-·----····-                            --·····-s~2a···--·-1;H:523.2z
                                                                                                 1
                                                   Txp"'0613638•'011 01~ 111118 T'"628"T-OO~rs28•Web"\
    12/16                                        OnllileTranstel' Ref#ibetkgqt7x to8usiiiessCheckh1g From lA to                                                                                          15,.200.00
                                         .... __ ___!Sln.!_l9..9>"er_~~~~---···········---···--·····-··-··--····-··---·-········--··- _-·--·-·-······--····-··--·-·--- -·-····-···-····-·-·· _ . -··-·-·-·······
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Account number: • • • 578                                    • December 1, 2011 -December 31, 2011                    • Page 3 of 5
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Transaction history (continued)
                                    Cheer<                                                                                             DeposlfSI                                                Endfng aally
                                 Number Description                                                                                      ~arts                                                          ba~nce
       12{16                            Online Transfer Ref #fbeqnf94F6 to Business Checking from lA to                                                             21,000.00
                                        Kjm Return r:l Advance and More
       12!16                         1478 cashetfCheek                     - - ---· -
       1_2l!L ____________ _t~r--c~~h~~ct1~~~--~==------·-····-
       12f16                                WlthdrawaiMadeln A Branch/Store
       i2mr··· ·                 1oii···ch8Ck·········     ···· ··· ····· ···· · · · ·········· · ·- · ···
       12/16 - --- -1070-check
                  .        .. _.. ... ···--
                         --·~---     ,          ....
                                            ·------~·-·--- .. -··· ... ·--... ---··--..,
                                                          ··--·~


       12/16                     1068 Check
       12716    -        ·-----~if.}73Ch8Ck          ________ _
       1"2Hrr· · ··· ····· ···1oo9····c;t;eci{····· ····· ·· ··· ··········
       12/w -                      - --!JeposrtMadeinABranctl/store
       12119--- ·-                       ·--··· ---ontina·=rrans~rRE:if#ibefY9tis24io8usin-essMaii<et-R8t8-savfr19S                                                 30,000.00
                                               From lA to Kp for CC Bill
      12!1 if··                               ···w-~helrawai-M8de irli\arcinctiistore                                                                               25,000.00
      12/W -              1071-check - - - - - - - ---- -                                                                                                           -. El74.39 - - - 113.855.49
      12izo___ - ------··-1480--ctieck ______ ··- -- ---·--- ··· ------·-                                                                     -----·-------··-- .   -----~'500-:oo··-------   ·--···-···-····---··---·-
      12tio--             1o1e cilack                                                                                                                               - 693.75--                    109.~~}4
      12121                     OnullEi fransier Ret#ib8x91<9G:iR (o l:iusiiieSs ct1eddilg From iA ·                                                                .16:006.00 .
                                                toKjn
      12/21              -- --- - 147a-·cashetf6t1ec-k:
      12!21                          148.2" cashed Ch~k
      12/21                        ··148f-ci1eck. ····· ··
      ·-·····-·-··       ----~---··-··---~-·-···-··----·«-··-

      12f22            1064 Check
      12/22___------ -"1074--Check           -------.- --
                     -ioScl-check
      12!23 - - - ..........................




      Ending balance on 12/31
      Totals                                                                                                                       $4~2. 100.00             $529,001.80
      The Endfng Daily Balance does not reflecJ any penrlirrg witharawals or hold.s on deposi~d fUnds that may havt.t been oot.stendlng on your account when your
      tra:nsactions posted. If you had msuffleient avaifabN) funds WflM a transaction posted, rees may have boon ass&Ss~.



Summary of checks written                      (checks listed are also displayed In the preceding Ttansactkm history)

      Numb~¥r                    Dat~                              Amount               NIJ.f1lb91'          Da~       Amount             NJ.Jmtx'Jr                 Date                              Amo11nt
      1057                         12{1                              505.50             1070                 12{1()    3,249.52.          1085                       12130                            3,500.00
      1058                         1215                            3,429.01             1071                 12/19      674.39            1469*                      1212                             7,000.00
      1059                       12/2                              3,242.54             1072                 12!16    7,080.18            1472 ..                    1211                           14,300.00
      1060                       12{2                              1,204.88             1073                 12/H)    2,2.81.55           1476"                      1211                             4,650.00
      1061                       12{2                              3,249.52             1074                 12/22      935.:22           1477                       12/29                               709.96
      1062                       1:2/5                              674.39              1076+                12/20      6Q3.75            1478                       12/16                            4,100.00
      1063                       12/5                              6,707.54             1079*                12/30    3.249.52            1479                       12121                            6,500.00
      1064                       1215                              2,261.55             1080                 12/23      674.39            1480                       12120                           3,500.00
      10£7*                      12/16                             7,154.67             1081                 12!30    7,204.26            1481                       12/21                           2,000.00
      1068                       12116                             3,242.54             1082                 12/30    2,2.81.55           1482                       12121                           8,000.00
      1069                       12/16                             1,204.89             1084*                12/22    4.100.00

      ~<   Gap in chacl< sequ&nca.




    Sheet Seq : 0037373
    Sheet 00002 of 00003
       Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 10 of 45 Page ID
                                         #:10107                REDE Page 24 of 127



                Redac
Account number: - 1578                     • December 1, 2011 -December 31, 2011              • Page 4 of 5
                        ted




Account transaction fees summary
                                                                                      Units          ExC$$$       Servi~   charge per      Total seNice
          SeMce ct~arge description                               UnitSUS6d        included           units          ex-c~ss   units ($)     charge($)
          Paid and Deposited Items                                        41           150               0                        {}.50           0.00
                                                                                                                                                 $0.00




Iii IMPORTANT ACCOUNT INFORMATION
Information regarding fees fot services you may use with J'l)ur account

-Audit Confinnati:m- $40 par request
~Non-Customer Check Cashing~ $7.50       eaCh
- Account Research - $25 per hour ($25 minimum)
~cashier's Checks- $10 each
- Document Copy Fee/Other Requests - $5 per Item (Self-Serve Requeete remain at no charge}
- Money Orders -$5 each
- International Item DepQsited- $5 per item
~ S~ Payment -$31 each


Wire Transfers:
-lncomirlg Domestic/Internal Tral".sfer- $15 each
~   lnooming International U.S./Foreign Currency ~ $16 each
• Outgoing Domestic/Internal Transfer- $30 each
~Repetitive Outgoing Domestic/Internal Transfer- $25 aach
- Otrtgoirlg lnternatronal U.S. Currency- $45 each
-Repetitive Outgoing International U.S. Currency- $40 each
- OUtgoirlg InternatiOnal Foreign Cl.lrrency • $35 each
- Repetitive Outgoing International Foreign Currency - $30 each
- Outgoirlg Book Transfer- $15 each
• Repetitive Outgoing Bock Tl'tm$ler- $10 each

Fo~ q~ntl,      contact your Busineea Banker or caR the phone number at tM top of your statement Pricing may vt~ry based on accoulit
relationship.
      Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 11 of 45 Page ID
                                        #:10108                REDE Page 25 ofl27



                Reda
 Accountnumber: - 578                               • December1,2011-December31,2011               • Page5of5
                             cted




 General statement policies for Wells Fargo Bank

 • Notice: WE~Ps Fargo Bank, N.A. ma-y furnish information about accounts            You must describe the specific ilformation that is inaccurate or in dispute
 belonging to indlvkiuals, including sole proprietorships, to consumer               md the basis fbr any dispute with supporting documentation. In the case of
 reporting agencies. lf this applies to you, yoo have the right to dispute the       infbrmation that retites to an IOOntity theft, you will need to provide us with
 accuracy of infOrmation that we have reported by writing t1 us at Overdraft         aniden~the~repo~
 Collections and Rocovary, P.O. Box 5058, Portland. OR 97208-5058.



 Account Balance Calculation Worksheet                                                  Number                      Items Outstanding                       Amount

 1. Use tha fcllo\\4ng workshoot to caloulate yoi.F overall account balance.
 .2. Go through your registfi.ll' and mark each check, withdrawal, ATM
     transaction, payment, daposlt or other credit listed on your statement.
     Be sure that your register shows any Interest paid into your account and
     any servioo charg0s, automatic payments or ATM transaruons withdrawn
     from your account during this slatement period.
 S. Uae the ch<iirl to the rlgit to list any deposlls, transfers- to your account,
    outstanding checks, ATM withdrawals, ATM paymer$ or any mher
    withdrawals (including any from previous months) which are !!$ted In
    your register but not shown on your statement.

 ENTER
 A.. The ending balance
    shown on your statement. .................... .$ _ _ _ _ __

ADD
 B. Any deposits listed in your                                       $ _ _ _ __
    register or transfers into                                        $ _ _ _ __
    your account which are not                                        $ _ _ _ _ __
                                                                                                                                                                           I
    shown on YQUr statement.                                    +$ _ _ _ _ __                                                                                              I


    . · • • .• · · . · • • • . • · · .• · .••••.••..••.•.• :rQ.TAl.   $ ------
                                                                                                                                                                       I
CALCULATE THE SUBTOTAL
                                                                                                                                                                       :
    (Add Parts A and B)

    •..•........•.....•..•........•..... lO.TAL. $                     ------

SUBTRACT
c. The total outstanding ch-ecks and
    withdrawefs from t_!le chart above_ .. _... _..... ~ $ - - - - - -

                                                                                                                                                                       I
CALCULATE THE ENDING BALANCE
  (Part A+ Patt B - Part C)                                                                                                                                            I
  This amount should bathe samo
  as the current balance shown in                                I
  yourf.!heck register.._._ ..... ____ . _____ .. _--1L.S....;;;-=====;;;;;;;.~                                                                                        I
                                                                                                                                                                       I
                                                                                                                                                                       I
                                                                                                                                                                       I
                                                                                                                                     Total amount $                    I




~10 Wells Flilrgo Bank, NA Aflrlgllts reserved. Mamber FOIC. NML~ ID a998Q1




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      Sheet 00003 of 00003
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  Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 13 of 45 Page ID
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Account number: -Redac 578                                       • January 1, 2012 - January 31, 2012 • Page 2 of 4
                          ted




Transaction history

                               Check                                                                                                                                                             {)f;posits/                   Withdrawals!                      Ending daffy
     Date;                    Number Description                                                                                                                                                      Crr;rdfts                                                      blfdanae
     1(3          1075 Cashed Check
     1/3- - - - -,o7r-ch8Ck ____
                     .. -------   ·--······--····~-----~- ~-······---~---   »-········-···---·----······ ··-----¥· -·-·· ------- .. --··- ..·-·-··-----.
     1/3                1078 Check
     1/s  ___ ··----1-o83Ch8Ck       _____________ ···-----------------------------                                                                                                                                                                                ·42:32&32
     if9····--·····  ··· · ---··oaiiOS~·Ma<iii in-:1•.: a·.:anc~iSiOre..                                                                                                                  ··    3.Q-:t)oo.~Q_<L=           -==     ---·····------~~--~:~![~~
     m·g------- ~--·=:=~ ::·.=~---5~:~:·W:n·:~rj-~:P9Z98-~~:~~~;~;~~-seNiCSS P-ack . ----·--········. ------ ---------- --- -30,000.00
                                                                                                                                  3.C-o
                                                                                                                                        ___ --- --                                                                                                                 42,325.32
                                                  From lA Ckg to Kjp Ckg
     1(13                                         Online Transfvr Ref #Jbejvj7Gq5 From Business Checking From                                                                                   20,ocro.oo ..
                                      . . -···---~~-~<>..!~---· ··········-····--··----·----·- --------------------------··--·------··-----
     1/13                             1088 Check                                                                                                                                                                                       1,211.~ - - -               ~1.1_!~98
     1/17- -                               Trnnsfer From ODA # 000007167100835
     1117'                                   · · iRS.usata:xpymfo1·w1'2 ·.27624-1'794799921 int~riiit6d                                                                                                                            .33:'363.12
                                                  Adni nistrat
     1/17             ---Em~oiffient ne.Yef Et:i<J E.ftpmi 01111:2: ri061363a ··                                                                                                                                                       8,361.60
                         Txp"'001363S*011
                · 1001 check.                        01,.111230'T*S67$4~T'749426....-S$61
                                  ····· ··· ······· ·········· ··· · · ············ ····· · ···· ······ ····--·· ············· · ····
    1hi
                - 1689Check                                                                                                      ---------
                                                                                                                                                                                                                                   · e:624.ss
    1/17- -                                                                                                                                                                                                                        - $,271.24 - - -
    1i1Y·-- -     1ri8Y-ci1'Etck                                                                                                                                                                                                -- - 3:268.81
    1(17- - - - -1.481Check                                                                                                                                                                       -           ~        -           ~ ·a,ooo~OO
     1r11                            1oa2 check ....... · · · · .................                                                                                                                        ·····--   ----- ..... · · · · · 2;·2oo:29 ........ ..
    1/1'7-00 , _ OOO_H_O''-'"i486-check'--•--•oHOoOO-Oo_'_ --------..------···-                                                                            OOOOHoO _ _ _ _ _ , ,                                   •   --·--·-···~·-·•-17200~·12·M----··-




    !(!7_--_---. _ ---~j~_s_--_ch_~----- ____________________________ --------·--·---------- _________________________________________
                                                                                                                                    -94o_-- -~?. ___ _
    1{17                  1098 Check                                                                                                  728.75
    1Hi.....            · 1ooo .... chtitcl< ......... ·.. . . ...       .. ... ·..... ............ .... · · ........... .       .. '"677:24
    1'117-                 - --em:~oymoot bevel EddEi\pmt 011112ooof3636 --                                                         --97.07                                                                                                                        47,220.04
                                                  Txp"'OS136as·o13W111231"P9429"T"27s•'f"gro7•web
    1{18            · --- -----------oniine-Tramiter'Ret #lb"eqnn7Cdh--t0-8uain8SS-cl1eckin9-FrOi1iiA:-                                                                                                                             15,000.00
                                                  toK.im
    1{18                          - 10sBCashett-cllOO"k. - - - - · - · -- - -                                                                                                                                                          7,212.97
    1/18 ___ _
    1/26'
                                    1oos--ci1eck-- --- - · -- ------
                                     -- -vvt Fed#04646 Pershing i.ic JOrg;SWar:tz ij) Services Grouplilc-                                                                                      100,000.00
                                                                                                                                                                                                                              -- ~ 3,500.®            =-= ~ ~.~r:_07
                                                 2425 C Srf# Fts1.201263538300 Tm#1201.26094545 Rfb#
    1(26                                - - WireTrans svcalar9fi-S6Quenci: 120TI6094545srf#                                                                                                                                                15.00                  121,492.07
                                            Fts1201263538300 Trn#120126094545 Rfb#
    1{27                          - - wb-ei'ranssvc Charge~ $equenoo: 126'127080085 Srf#'                                                                                                                                                  30.00
                                                 0000611027780386 Trn#t2012708868S Rfb#
    1727- -- --- - ---·-oniineTr-anster-Ret #iGex9t34Ps toaiiTceusine5s SeiVieeSPacif- -----·
                    _ ~rn l~o Kjp~niti~9.F'~ ________ . ___ _
    1(27                                         Online Transfer Ref #!0059f3Qvl to Business Checking From lA to                                                                                                                      s,ooo.c-o
                                                 Kjm
    ·1121-····-     ··-M-·--·-i490-cas·hed-ChS'Ck-····-··-·--··M··~--····--·-·--··-·-·--···-M··-·-----·-···~-··-·--··-··                                                                                                         ····-··-·e,-ooo-~C-if---··-

    1i27··-- - · ------·· ·io98--cash(,)1fcTiec-IC ·-----·-- · · ------ -- · ------- ·-· --- ·-----··---                                                                       ·· -- --- ·-- -· ------ -- --- --- ·-· · . ·7,212:97- ------ --
    1727-                - · - -wtf:ed#oo919 citlbank. NA/FtriBiit;,Thesert;lstaln srf#                                                                                                                                           -2s,ooo.c-O --- -
                                   0000611027780386 Trn#120127088685 Rfb#
    "i{2·7-·- ·-------1'488-check         __________ ····---------------
                                                                                                                                                                                                                                    10,000.00
    1i2'r-- -               1489--ciieck -- --- - --                                                                                                                                                                               - [000.00 -- --
    1{27                            1102 Check                                                                                                                                                                                        4,837.41
    1I2i........         11'oO".. ctititck                                                                                                                                                                                            3:27'1:24 .
    1/27- -            -1 f64-check                                                                                                                                                                                               - 2,280.29 - - -
    112i____ - -- ,___ - .1.103--Check                                                                                                                                                                                            - {822.41
    1(27- - - - - 1097--check                                                                                                                                                                                                     - 1,280.12
    1·121            ··· · ·· · 1099 check ·                                                                                                                                                                                          (.211.34 .
    1f27             - - - 1f01----check                                                                                                                                                                                          - 3,566.66
                                                                                                                                                                                                                                    ----an .24 -- --- -           44~~!:l~:..51
    1/36____      -110f-Check -- --- - -
    17ao___ -----1'485 ct1eci< __ _                                                                                                                                                                                              --1,822~41        ____          --39~~1     0
    1i3f              · ····· -· -11·os- cht:ICI<
                                   ·------                                                                                                                                                                                        - _i26~~~1
     Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 14 of 45 Page ID
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                 Redac
 Account number: - 578                         • January 1, 2012- January 31, 2012 • Page 3 of 4
                        ted




 Transaction history (continued}
                              Cheer<                                                                                           Deposlfs!          Withdrawals/         Ending dally
                            Nr.~mber   Dest;ription                                                                              Cra<ffts                    Debi'.s       balance
        1{31                           IR..S Usataxpymt 013112 270243190535186 Integrated                                                                315.66
                                       Admi nistrat
        1/31                      - !RsUsamxpY,-nto13112 2io24310476404i!rltegratoo                                                                      157.83          35.342.80

        Ending balance on 1/31                                                                                                                                          3!5,342.80
        Total&                                                                                                              $200,000.00          $219,184.04
        The Endfng Daily Balanc& does not renee! any pending withdrawals or holds on deposited funds that may have been outstanding on your aocountwhoo your
        ~nsaations PQSt9d.     If Y<W had insuf/Jaisnt avaifa/)h) fUnds When a tl<lnsaation p0$lrild,   ~es m~y haV£;~ boon $8S~(}d.




Summary of checks written              (checks listed are also displayed in the preceding Transaction history)

        N!.Jmbw             Date                  Amount             Number               Datfi                   Amount          Number              Date                Amcflnt
        1075                1/3                   7,154.67           1092                 1117                   2.260.29         1103                1/27                1,822.41
        1077.               113                   3,242.54           1093                 1/17                    940.82          1104                1/27                2,280.29
        1078                1/3                   1,204.88           1095._.              1/18                   3.500.00         1107~               1/30                3,500.00
        1083"               1/3                     596.43           1096                 1117                    728.75          1108                1131                3,268.81
        1086.               1/18                  7,212.97           1097                 1/27                   1,280.12         1485.               1/30                1,822.41
        1087                1/17                  3,268.81           1098                 11.27                  7.212.97         1486                1/17                1,280.12.
        1088                1113                  1,211.34           1099                 1/27                   1.211.34         1487                1/17                3,000.00
        1069                1/17                  3,271.24           1100                 1/27                  3,271.24          1486                1/27               1(},000.00
        1090                1117                    677.24           1101                 11.27                   677.24          1489                1/27                5,000.00
        1091                1/17                  6,624.88           1102                1/27                   4.837.41          1490                1/27                6,000.00

        " Gap in check sequenca.



Account transaction fees summary
                                                                                                     Units           ExGeS$          Service charge pw                 TotalseMo9
       Service charge clescription                                       Units used               incfudad             units            exr:;ess units ($)               charge($)
       Paid and Daeosit$11 ltems                                                 36                    150                 0                        0.50                      0.00
       Total Q~Vtce charg~n                                                                                                                                                 $0.00




pj IMPORTANT ACCOUNT INFORMATION
Effective April 16, 2012, the daily maximum number of Overdraft Item (OD) and/or Returned Items (Non-Sufficient Funds/NSF) fees that
can be charged oo any business day will increase f!-om 4 to 8 per day. 00 and NSF fee pricing remains unchanged.

If you have questions, please contact your focal banker or can the phone number ~sted at the top ot your statement



For customers with Welle Fargo debit, check or ATM cards is.">ued in IN, MN, OH and SD: Starting February 1, 2012, you can begin to                     U!re
your card to make purchases where you enter your Personal Identification Number (PIN) to authorize your purchase. Refer to the
applicable account agreement for mora information, or contact the o..rstomer service number on your lrtatement.




     Sheet Seq= 0070232
     Sheet 00002 of 00002
    Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 15 of 45 Page ID
                                      #:10112                REDE Page 29 o£127



Account number: Redac
                • • • 578                         • January 1, 2012 - January 31, 2012 • Page 4 of 4
                         ted




General statement policies for Wells Fargo Bank

• Notictt: Wells Fargo Bank, N.A. may furnish information about accounts            You must describe the specific information that is inaccurate or in dispute
belonging to ndM:luals, includng sole proprietorships, to consumer                  md the basis fOr any dispute with supporting documentation. In th& caae of
reporting agencies. lf this applies to you, yoo have the !iJht to disptrte the      infQrrnation that rela~ to an id~ily theft, you will need to provide us with
accurocy of information that we have reported by writing to us at Overdraft         an identity theft r.aport.
Col!Bctlons and Rocovery, P.O. Box 505&. Portland, OR 97208-5058.



Account      Balan~        Calculation Work$heet                                       Number                    Items Outstanding                     Amount
1. Use ttw follo1Mng workshEJet to cal¢~.~late yol.l' overall account balancQ.                                                                                         I

2. Go through    y<~ur rogl$ler   and mark each check, withdrawal, ATM
    transaction, payment. deposit or other creditllseed on your statemenL
    Be sure that your register shows any interest paid into your account and
    any $8fViQe ctJar9'ts, automatic payment~ or ATM transactiornl withdrawn
    ftom your acrount during thls statement period.
3. Use the chart to the rig,t to llst "my dePQS!ts, transfers to your account,
    ootstending checks, ATM withdrEtwals, ATM payment& or any other
    withdrawals (Including any from previous months) which are !~$ted ln
    your registar but not shown 011 r-our statement.                                                                                                                   I



ENTER
                                                                                                                                                                       I
A.. The ending balance
                                                                                                                                                                       i
   shown on your statement. .................... .$ _ _ _ _ __

ADD
                                                                                                                                                                       I
B. Any deposits listed in your                                       $ _ _ _ _ __                                                                                      I
   register or transfers into                                        $ _ _ _ __                                                                                        I
                                                                                                                                                                       !
   your account which are not                                        $ _ _ _ _ __
   shown on your statement.                                    +$ _ _ _ _ __

   •· •• ·• · · · ...•.•. · • • · · •· •• ·· • •· • • ·•. -:rGTAL..$ - - - - - -

CALCULATE THE SUBTOTAL
                                                                                                                                                                       I
   (Add Part$ A atld B)
                                                                                                                                                                       I
   •.••.•...••.•....• - ..•.••.••..•..••• lO.TAL.. $                  ------

SUBTRACT
c. The total outstanding checks ar.<l
   withdrawals from the chart above .............               ri   $ _ _ _ _ __
                                                                                                                                                                       I
CALCULATE THE ENDING BALANCE                                                                                                                                       I

  (Part A + Part B - Part. C)                                                                                                                                          i
  This amount should bathe same

   ~~~;hc:;er~::n_~_ ~~~ -~~- .............. ~L.$;,; ;.=====;;;;J                                                                                                  I




                                                                                                                                                                   I


                                                                                                                                 Total amount $




~10 We~   Fargo Bank, NA Nl right'il reserved. Member FDIC.   NMLS.~ ID 399$01
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 Business Checking
                 Redac
 Account number: - 578                    • February 1. 2012- February 29. 2012 • Page 1 of 5
                                  ted




                                                                                                     Questions?
 INTEGRATED ADMINISTRATION                                                                          Available by phone 24 hours a day, 7 days a week;
 34 EXECUTIVE PARK STE 210                                                                           1-800-CALL-WELLS (1..S00·225--5935)
 IRVINE CA 92614-6756                                                                                 TTY: t-aoo-an.-4833
                                                                                                      En espafloi: 1-877-337-7454
                                                                                                     Online: wel!sfargo.comJbiz

                                                                                                     Write: Wi;.\11$ F;,ugo B.ank, N.A. (114}
                                                                                                            P.O. Box 6995
                                                                                                            Portland, OR 97228-6995




  Your Business and Wells Fargo                                                                     Account options
  Access Wells FargofGal!up's Small Busine$5 Index reports, press releases and                      A check marie in the bc;~x indicates you have these convenient

  podcasts at wellsfargobusinessinsights.comfsrnalJ..business-index. The quarterly                  services with your account. Go to wallsfargo.com/biz or CfJ/1
                                                                                                    the number above If you have quas1ions or if you would lika
  in®x reflects small business owner optimism, perceptions of current conditions
                                                                                                    to add n~w S&Nices.
  (past 12 months) and future expectations(next 12 months) relating to financial
  i3ituatton, revenues, ca$ flow, Clipltal spending, jobs and credit availability.                  Smilness Onfine Banking                              0
                                                                                                    Rawards for BuslnOO$ Check Card                      D
                                                                                                    Online Statements                                     [{]
                                                                                                    Business Bill Pay                                     D
                                                                                                    Bwoiness Spending Report                             0
                                                                                                    Overdraft Protection                                 D




r.IMPORTANT ACCOUNT INFORMATION

As a reminder, Wells Fargo may assess the following fees to your checking account for international transactions mad& wHh your debit
Clilrd.


-Non-Wells Fargo ATM VfrtMra\val: $5 each per international trarn'laction
- Non-Wells Fargo A TM Transfer. $2 each per transaction when you transfer available funds between your primary linked d1ecking and
savings accounts at select non*Wells fargo ATMs

(Please note that lhe ATM owner or operator may also charge a fee.)

·International Purchase Transaction: 3% of the transaction amount is charged for each purchase made with your debit card in a foreign
currency that has been wnverted into a U.S. dollar amount by a network
• Overuth&-Counter Cash Disbursement 3% of the transaction amount for each cash withdrawal at a non-Wells Fargo Bank outside the
u.s.




          (114)
          Sheet $eq   = 006878f
          Sheet 00001 of 00003
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        Redac
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   Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 18 of 45 Page ID
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                Redact
Account number: - 578                                      • February 1, 2012- February 29, 2012 • Page 3 of 5
                             ed




Transaction history (continued)
                                      Check                                                                                               DepositS/      WJthdrawalf?l               Ending r1a11y
      IJat(l                     Number Description                                                                                         Cl'a<fits              Dtlbit$                   ~nee
      2/10
      2/13........ ...............1121    Check
                                  H24.... ¢heck
      2/14- - - - -, f22---ctieck
      2/14 ____ - -- --- -1f1f-ci1eck
      2if5-·«··- ·. ---···-·-··-·---·--o-rlline·nanSfer ·Rer #ibefY<i3_K9_z_to·s·uslneSS-Gh6ckin-.g From-,A-t-o
                                                 Kjm
      2/15                                    IRSLtsataxpiffit021512 ·2702446.25732100!ili6Qrated                                                             26,273.79
                                                 Adml nlstrat
      2115             ·-···-·----···- ·----··-EnlriOYnlenfDSV&i Edd-EftP.mt 021~i1-20oo_i3638 ______                                                           6,253.23
                                                 Txp*00613638..011 01 .. 120127'~80949~1'"544374*1*6253
      2115                                    i§Tifioynn:mtoevel EddEftPmt oz151zooof3636- ·                                                                    1,709.45
                                                 Txp~0613638•Q13CKr120331~166061~4884~17094
     2/15-····------·if26Ch8Ck·-----·--·-·····-····-····--··-···--···-·-·-··········---·-                                                                         800.00                     6,807.81
     2hf              · 1399. Check···                                                                                                                            448.as···                  6;358.83
     .2/21-·                      -      - Online Tiinster Ref#lbeqnwx44R                From BUSfneis Checking From                     20,000.00                                        26.358.83
                                                 KjmloiA
      2122                                       Online Transfer Ret#ibe59M6P91-fiocomplete-Advan1Btle(Rm) -                                                  25,000.00                      1,358.83
                                                 From lA to Kla House Ac for 32K Pymt
                                  - - -oePQ5itMade InA Brirlcwsilre . -···-
     2/23
     2123
     :i/23
          ___ _                       ·--'fran5tB"ri=rom tloA-ifooooo7s139e9foe-- -· · - ·-----
                                          Wrre Trans&\lc a,a:rge~ $equenei:120223117sso srfif
                                                                                                                                         160,000.00
                                                                                                                                         :oo.oe&.~ ~    =
                                                                                                                                                        ~
                                                                                                                                                                   30.00
                       --·---- ____ _QQ~~~~~~9 T_!!l:ft~~02231_1_1_~§?_B~~-----·-····-····--··-···
     2/23                                        Wire Trans S\lc Charge- Sequence: 12022~119103 Srf#                                                               30.00
                                                 0065859054 757029 Trn#120223119103 Rfb#
                                  - - ---wT $Sq.i17550 Mitcheli,              Sllberberg&Tsnt=M~che"            Silbetwrg-                                    25,000.(;'1)
                                                 srf#0065859054399919 Tm#120223117550 Rfb#
     2/23                              ··-··Viff·F'~oo745·city            Naikila! sank:/Fii7snr;s·uime~ i<ui)eti___ ------·                                   30,320.58                 165,976.25
     ~---.--···--
                                               Trust Account Srf# 0065859054757029 Tm#120223119103 Rfb#
                         ,., ____________«-···-----···---------··-····-··-·------······----·---··-·---------------········--------
     2/24                                      Transf~r From DDA # 0000079139e91 06
     2i24········ .................. .        ·····\iifireirans·-sv;:;·diar:ge··~·seqtie·iic;e:·1202.24.11oo92s·rm·                                              ····30:oon········ ··
                                                 0065859055915239    Trn#120224116692
                                                                   ------                      Rfb#
                                                                            ------·- -·· . ------- .. -- ·-··
                                                                                                         ------~-----



     2/24                                        Wtre Trans Svc: Charge ~ Sequence: 120224078870 Srf#                                                              30.00
                                                 0065859055170629 Trn#120224078870 Rfb#
     2124                                 · ·····wire triiriS··sv;:;·diaf96· ~- sequa·nc:l;:·1202.240788H sii#                                          · · ···· ····30:oo
                                                 0065859055 769629 Trn#120.224078871 Rfb#
     2/24                                - --wireirans-svc Cllar9S- sequence: 12o22407ss73srf#                                                                     30.00
                                                 0065859055702729 Trn#120224078873 Rfb#
                                                 Wt s€t<i116892 i36ro.iat..lana9ein&.nt inc /enf=GeiOva
                                                 Management Inc Sri# 0065859055915239lrn#120224116892
                                                RfbtJ
     2i24- --·--·-- · ---~rriilg Triiiarer Riif#Opefya3Rcy·iO-saS1CB.J~eeseiVice!i-                                                                         . -·3,461~54·------ --·-·

     2/24- ..                          ·----~-~~-E~ ~~-~~1P ~r.'.~!:l.!ti!!.9 F~------··-·····-- _________ ------··                                          ·2s;ooiLOif _____ _
                                                WT Fed#07642 Bank of America, N /Ftr/Bnf:Graybox LLC Srl#
                                                0066850055170629 Trn#12022407S870 Rfb#
     i/2.4-···-                          -·     wr i=aa#o764s1St century Bank!Firffiilf=-spliiana waln9alten--                                                25,000.00
                                                LLP Client Srf# 0065859055769629 Trn#120224070071 Rfb#
                                         --><·--·-···-····------··---·-----······--··-----·-·--·--··------------·---
                                                WT Fed#07644 Citibank, NA /Ftr/Bnf=Eugone Scher Atf Th9                                                       25,000.00
                                            Bergstein
                                 -1403Checl<:      -- Srf#
                                                         - 0065859055702729
                                                            - - - ..... · · - --Tm#120224078a73
                                                                                 -·- ---- ---- Rfb#
                                                                                                -- - - -
     2/24                                                                                                                                                     20,843.03
     2i24....                    ··1~13f .. ci19Ck···                                                                                                        ···3;·ii1.24····
    2124- ·-- --- -,-1-29 Check                                              . ·····--·- ··-··-···---··-----···· ···--·-······-···--·-    .. --·-··- --- .   --3,268~81    ____ . - - - · ·
    il24____         -1136--Check                                                                                                                            - 2,280.29 -- --· -
    i/24- - -----,··f35Check               -             ~--~                                                                                                - 1,822.41 ___ -            -
    2J2.f ··           1121 ct-tecl<. ····                                                                                                                      (280.12.
    i/24- - - -1 fso--cheCk:-- - -                                                                                                                           - 1,21{34
    i/2.c--   -- --- - 113f-ci1eck                                                                                                                           - -94.().82                 AS,.a.ts.as
    2121- - --~ ifzs-easilad-ct1eck -                                                                                                                           7,212.97
     212t ....... · · · ····· ······· ···· 1402....check···· ····· ·· ·                                                                                     · · e:·ooo.oo · ·
    i/27-                      - if34-check                                                                                                                  - 4,837.41 - - -
    2i2i____
    iJ~!.   ........ .- .-
                                 1404--Check
                             --1f32 Ch~~~==~
                                                                                                                                                               (004.87 -- -- -
                                                                                                                                                            -~ ...~.?.(~~ =~       -.    ~?~~1 ~




   Sheet $eq = 0088782
   Sheet 00002 of 00003
    Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 19 of 45 Page ID
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                 Redac
 Account number: • • • 578                   •   February 1, 2012- February 29, 2012                   • Page 4 of 5
                       ted




 Transaction history (continued)
                            Check                                                                                                            Wlthdli3W<JISI
                           Number DescriptiOn                                                                                                           DtiJbit.S
        2/29                       Online Transfer Ref #lbetl25lliS to BW3iness Market Rate Savings                                                   100.00
                                   From Ckg to Svg
        2129         - -   - · - - online Transrar Ret #ibemrx4Zig toCO.'TlJ)ieiS Advantage(Rm) -                                                 1.ooo.c-o
                                   From lA to Kla HouSE~ Return Bal of Loan
        ~~~---····   ------;;-1~~----·~~~h~~C.~.~~~-~~==··:··=--~--~~-=~------                                                                                      ..   ~·:?~:1~
        Ending !».lance on 2/29                                                                                                                                          23,24$.16
       Totah.                                                                                                          $416,000.00           $488,096.6A

        The Ending Daily Balance do&s not mfleot any p&nding witharawals or holds on deposil:ed funds that may hav9 ~ outstanding on your aocounl when your
        transactions posted. If you had insufficient availab/1':1 funds when a transaction posted, l'ees may have be&n assessoo.



Summary of check$ written             (checks iistfid aro also displayed in the pro~ ding Tronsaatfon history)

        Number             Date                  Amount           Number             Date                   Amount           Number               Date                     Amount
        11D6               211                    940.82          1123               2/10                  6,000.00          1134"'               2127                    4,837.41
        1112 *             2/10                  1,280.12         1124               2/13                  1,:267.85         1135                 2/24                    1,822.41
        1113               2/10                  7,212.97         1125               2/10                  2,729.47          1136                 .2/24                   2,200.29
        1115 ~             2/10                  1,:!11.34        1126               2/15                   aoo.oo           1137                 2/24                      940.82
        1116               2/10                  3,271.24         1127               2124                  1,260.12          1136                 2129                    3,500.00
        1117               2114                   677.24          1128               2127                  7,212.97          1399"'              2/17                       448.98
       1118                2/10                  4,837.41         1129               2/24                  3,288.81          1400                2/10                    15,000.00
       1119                2110                  1,622.41         1130               2124                  1,211.34          1402"                2/27                    6,000.00
       1120                2/10                  2,280.29         1131               2124                  3,271..24         1403                2/24                    .20,843.03
       1121                2/10                   940.82         1132                2127                   677.24           1404                2127                     1,904.87
       1122                2/14                  3,500.00

        " Gap In check IJequemce.




Account transaction fees summary
                                                                                                Unns            Excefis         s~       r:hargft per               Total servicEt
       service charge r:Jescription                                   Unit$ used            included             units               axcess units ($)                    chargrJ ($)
       Paict and De~sned ltems                                                35                150                    0                       0.50                            0.00
       Total servlc$ eharg"                                                                                                                                                  $0.00




~IMPORTANT ACCOUNT INFORMATION
For customers with Wells Fargo debit. chack.orATM cards issued in IN, MN, OH and SD: Starting February 1, 2012, you can begin                    to use
your card to make purchases where you enter your Personal Identification Number {PIN) to authorize your purchase. Refer to the
applicable account agreement for more Information, or contact the rustomer service number on your statement.
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                 Redac
 Account number: - 578                             • February 1, 2012- February 29, 2012     • Page 5 of 5
                            ted




 General statement policies for Wells Fargo Bank

 • Notice: Wells Fargo Bank, N.A. may furnish information about accounts           You must describe the specific information that is inateurate or in dispute
 belonging to lndM:luals, including sole proprietorships, to consumer              md the basis fbr    any dispute with supporting documentation. In the case of
 reporting agencies. lf this applies to you, you have the riJht to dispute the     information that .-..tes  to an iOOntity theft, you will need to provide us with
 accuracy of information that we have reported by writing to us at Overdrsft       an identity thelt report.
 ColiBctlons and RQCO\Iary, P.O. Box 5058.. Portland. OR 97208-5058.



 Account Balance Calculation Worksheet                                                 Number                     Items Outstanding                      Amount

 1. Use the follo~ng worksh$61 to calct,llate yol.l' overall aCCQI.Int balan~.

 2. Go through Y'JUr regl$ler and mark each check, withdraml, ATM
    transaction, payment daposlt cr other credit llsled on your state."Y''&nl
    Be sure that your register shows any lnwrest paid into your account and
    any $fif'ViGe char{Ns, ai.ltomatic payment& or ATM transactions withdrawn
    fiom your acrount during this statement period.
 a.   ~e the dlart to the rlg,t to list any deposfts, transfers to your account,
      outstanding checks, ATM withdrawals, ATM payment~ or any other
      withdrawals (Including any from previous months) which are llsted In
      your register but not shown on your statement.

ENTER
A.. The ending balance
      shown on your statement. .................... .$ _ _ _ _ __
                                                                                                                                                                      I
                                                                                                                                                                      I
ADD
B. Any deposits listed in your                                     $ _ _ _ __
   register or transfer$ into                                      $ _ _ _ __
   your account which are not                                      $ _ _ _ _ __
   shown on your statement.                                     +$ _ _ _ _ __

      •.••.••...•••....••.••.••...•.••.•.• :rGTAL.. $ - - - - - -

CALCULATE THE SUBTOTAL
      (Add Part& A and B)

      •.••.••...•••.•...•..•.••.•.•.•••••• lO.TAL. $ - - - - - -
                                                                                                                                                                      !
SUBTRACT
c. The total outstanding checks and                                                                                                                                   I

      withi:!raWI.'l!s from the chart above ............. ~ $ - - - - - -

CALCULATE THE ENDING BALANCE
  (Part A + Parl B - Part C)
  This amount should bathe same
                                                                                                                                                                      I
      ~~~~r:;e~::rn_~. ~~~ -~~ ............... JL.$.....;;;.=====~
                                                                                                                                   Total   amount $




(0)10 Wells Fargo Bank, NA All righls reserved. Member FDIC.   flML~ 10 399$(11




                 =
       Sheet Seq 0068783
       Sheet 00003 of 00003
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        Redac
        ted




                                                       Reda
                                                       cted
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Account number: ~
                Reda 578                                                                  • Mard11. 2012 -March 31, 2012                                                                                                        • Page 2 of 6
                              cted




Transaction history

                                   Check                                                                                                                                                                                                                                                             Wtthdrawalsl                     Ending daffy
     Date'/                       Number Description                                                                                                                                                                                                                                                        De'lbi($                         b¢anr:;(1
     3/6                                                              WT Fed#05836 Pershing LLC /Org=Swartz.lp Services Group Inc                                                                                                                                        300.000.00
                                                                      2426 C Srf# Fts1203069887$00 Tm#120306123059 Rfb#
                                                                      Online Transfer Ref Hlbexh5H3e7 From savings From Mz to lA
                                                0 0 ... _   ...   '~-----~·~·   00 <<   ··--·~--~   00 - · - · . , · · - ..· - - - · · - - ·- 0o00o <<   ··-----~·   -·--   0~   _ _ ,M _ _ _ · · - - · 0<0 - · - 0•004 _ _ _ _ _ 00 °00. - · · · - - · · - - - O M -


     316                                                                                                                                                                                                                                                                  65,000.00
                                                 ............~~~-~i?.. ~.. Qc:I~.!Y.~.I'!.............. -··· .. ... -············
     3(6                                                              Wire Trans SVc Charge- Sequence: 120306123059 Srf#
                                                                      Fts1203069887500 Trn#12030612305~ Rfb#
     3(6                                           --··· ---oiiline.=rraii.srerR8t-#ibee3T9i2y-io-susfries5.CiiedZin-9 F-i-om-IA"to                                                                                                                                                                         5,000.00
                                                                      Kjm
    3/a····                                                          ·onnflt:t Traiisrvr R6f""#li.lemrywrcfto sl.isir16si. cheei<iii9 Frbm 11\ to                                                                                                                                                         63,167.36
                                                                      Zkco 4 Wlte to Carol Watson
     316                                            ·-··· ---onliiie.=rrailsrer R8Y#it,e~;yyz77-to-saviri9s!=ram-,"A-to ·,;:.;ajidz-- --                                                                                                                                                                  65,000.00
                                                                    Return of Advance
                                                                  ·····or1nrleTrliiiisk!r.Ref.#lbeC3Tk9dfto·sasic8uaines~seivioe8·P8Ck·                                                                                                                                                                  149:·420.ii                   105,643.03
                                                                      From Is to Kjp to Pay Amex Bill
                                                                      w~ TranS sVc Ch~lrge-~                                                   Sequence: 1263oi68937:H~rl#-                                                                                                                                     30.00
                                                                      0000611067S00640 Trn#120307069~72 Rfb#
                                                                     wr Fed#684s.2 Ji>moi9aii ct1ase ean"i"Ftrisrii==t.Jaiiiinat fir1andat                                                                                                                                                                .2s:ooo.oo
                                                                      Servi~ LLC Srf# 0000{;) 11067300640 Trn#120007089372 Rfb#
                                                                  ---wr ~ea#64687P8n.-l-lin9 LLcior9;sv.-:art2.Tpservioos orouitlilc-                                                                                                                                    100,00().00
                                                                      2425 C Srff# Fts1203091803300 Tm#1203001170S8 Rfb#
                                                                  ····w·,r:e tiii~··sv;;;·ciia;:ge·~-8eQuenoe·:·120s·oo"i17oa~fsrm
                                                                      Fts1203091803300 Trn#120309117088 Rfb#
                                                                  ·--orilllle riaristerRef"!#lbee3va2~fft!:lsusifiess Ma-ri<ei-R3ie--                                                                                                                                                                     2S,o00.00
                                                                  OOOOO~\Ii~9~ !=:'"?.m... ~9..~~--~~--f()r..~.~-!.~
    3(9
                             ••••• •   ••   •        •       •                            ••


                                                                     Online Transfer Ref #lbe86Sp5Zf to Business Market Rate Savings
                                                                                                                                                                                 Ooo    •••oO • 000      H   0     0000000000 • • ••••00000•••••••••••••
                                                                                                                                                                                                                                                                                                  ···   ··s~·ooiioo

                                                                     From Clqi to Svg for PR Tax. Marcl115
                                            ·            -···---RecuiTin9--rr&-r1srer-Fi9r#6~mi-iP4c·i;;·aa5_iC_BiJ8iiiess                                                                                                           ·s-eNic-e5·-                                                           3,461.54
                                        Pack From lA to Kjp Consulting Fee
    319 ··· ··               ··· ·· 11M casheifcheck   ·· ······ ···-· ·· · ···· ····· ·                                                                                                                                                                                                                   7}12.97
    3i9- - - - ~ 1153Ch6ok - - -                                                                                                                                                                                                                                                                         - 4,83i41 - - ~ -
    319-----                      -1149--Check                                                                                                                                                                                                                                                     - - 3;271.24 --
    3/9- -                           1f46Check
                                       ~                                                                                                                                                                                                                                                                 - 3,2ss:sr---             ~
    319 ···               ··· ··· ·· Hsf Ci1eck ···                                                                                                                                                                                                                                                         .2;"280.29···
    3i9- -               --~1f55Check                                                                                                                                                                                                                                                                    - 1,822.41 - -            ~    -·
    w----- - -- --- -114.2--cfleck-- --· --                                                                                                                                                                                                                                                             ·-·:c2oo:12" _______ _
    3/o                                     1148 -ChGCk:                                                                                                                                                                                                                                                 - 1,21 (34       ---           93.~~~.90
    3112 ·                                                        · Online rransk!r Ret #li>e59Ri1¥d$ to eueiii.e$.6 6heckin 9 r-ron'l iA. til                                                                                                                                                         ·13:·aoo.oo ·
                                                    Kjm Per Kia
    3i'1_2 ____ -..-. .---·--- . -···1161--CaSfi&d_C_h&(;-k      - . . ----·--                                -~-                                                                                                                                                        ·· ------···-··---------·-· · -·. :a:aoii:oo··--·------- · · -·····--··--·····
    3112                                  118s     Check
    3i1'2······· · ··· ·· ........... ····116.2.... Check                                                                                                                                                                                                                                        15,000.00
                                                                ... ···"············ .. ····
    ··-·····-····- ···----------- .. -------·---·-·-------·-···-··-·--··-·····                                                                       _________________                                 ,_,   ____________              ~---------
                                                                                                                                                                                                                                                                                                · s:·soo.c-o
                                                                                                                                                                                                                                                                        -····-·-------·-··--···--·            329~61·----

    3112                                    .. _ ---~~-r!.z.<>-~-~-~~n._'!~.~-~~~~~y_1~~2~-~~~?5?.~Y!i.~!:l~.a.~-~~~---·                                                                                                                                                ... ·--·--·--···- ---·-· ··- ----i5rf________
    3Hz____ -                                       Bilmatrix Bill Pay 120310 4681563592 B!l!matrlx                                                                                                                                                                                                                                     ~.~~79



    3/13- - - - ~ - -wt F8d#os72.4 Pershlfig LLc /Org;sv;'arti lpsarvioos GroupInc~                                                                                                                                                                                      .50,000.00.      ~   - - - - - ·-·-···-- -
                                                                     2425 C Srf# Fls120313i118100 Tm#120313120947 Rib#
    3/13                ···-·-     ~--------wiierrans                           5Vcalargi;=-8eQuenCii-1203131-20047 srfii·----···                                                                                                                                                                               15.00
                                                                     A$1203131118100 Trn#120313120947 Rfb#
    3/13            -    --~1407Ch!:!CI<                                                ---                   ~       --                                 ------ ---- - -                                                                                                                                 10,000.00
    3113···· ·                     ·· Hoo····check···  ··· ·················· · ·········· ·· ......... ····                                                                                                                                                                                            ·· ····s4tis2"                  ~.::@~97
    3/14-                --- ~···---·-o-nline Transfer Ret #ibati5Jk-sv-toBIJSfness-chedc-ing-From lA to                                                                                                                                                                                                ·ao,ooo.oo --             ~

                                                                     Kjm
    3114           -    ---1405---checl<                                                                                                                                                                                                                                                                 3$,000.00
    3114      ··· ····· · Ht>rf ci1ecl< ·                                                                                                                                                                                                                                                                "15~000.00       .
    3/1·,- - - -1·1-S-6Ci,eck                                                                                                                                                                                                                                                                           -10,000.00 - -            ~
    3114____              1143 Check                                                                                                                                                                                                                                                              ·-· - f,ooo.34 -- -- -
    3714-- --~---1154 Check--~                                                                                                                                                                                                                                                                          ----1,073~-frf--          ·-
    3114 ·                11s0 ct.eck                                                                                                                                                                                                                                                                        677.24 ...                      31i29
    3115- - -·- ~ - ot1111le nirlsier Ref#fb;att5zs7a Fromauslnes.~Mart<et Rate-                                                                                                                                                                                         ~2,000.£1()

    ------------·-----··· --~Y~fl_~~ro~~J!-~~9.t.~ cov~~-~-!.ax~~--------·-·········--···- .. -···--····-·······--·--··-·--·-··-·-·-··-·- --·····-·····-·--·-
   Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 23 of 45 Page ID
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Account number: ~
                Reda 578                                                  • March 1, 2012- March 31, 2012                                                 • Page 3 of 6
                                    cted




Transaction history (continued}
                                                Check                                                                                                                                    DepositS/                                                       Endingaauy
                                           Number Desariptitm                                                                                                                              Credits                                                          balance
     3115                                                   IR..<) Usataxpymt 031512 270247S41895664lntegrated                                                                                                               25,439.04
                                                            Admnistrat
     3115                                           ----~m~OYfflanfDSVe-1                     EddE.ftPmtro15-1-20oS_i3638_                                         ---- ·-                                                      6,029.09
                                                            Txp"''001363S~"011 01*120224t"f"79927~r522982"T*60.29
     3115                                         -----em~io}imentoevei                       EcidEitPint o315Tzriooi363a-····-·····------------------                                                                            479.00                        365.16
                                                                                                                 1
                                                            Txp"''00136sa--o1300* 120331                             "r"46531~T"1369_,.... 47900~
     3116                                           - ·-online Transfer "Ret #lii86vdr39 i='romBiiSiilesS. MarkefRaTe--                                                                  10,000.00
     _______ ---------~~~~~ro~~ to_~9........·-----·-··--------------·--·····--····--··-
     3/16                                                   0nline Transfer Ref #lbems3C9ll From Business Checking From                                                                   7,000.00
                                       KjmlolA
     3116                    - - -1140 Check-- -· - - - -                                                                                                                                                                         790.59                   16,575.57
     312o ____ · - · ------··- H39--ci18ck______ -- -- ------- · · -----------·--------·· -- --- ------·· ·------ --- --                                                                  . --------.. ----·--··---··-- ..   --·--~~00~·--·~---·~--·-···-·-·~--··--~·~··



     3i2o_______ ----11-45Che:ck----------·····-····-·-····-··-···--··-··-··---·········--------                                                                                         ··-------- --- 589:22 _______                                     15::f.~35



     3i22··· ···                                          ·· wr tied#o5256 ?erohin9 i.Lc16rg;&Na.u ii) seriiiC$ Groi:i£-tTnc·                                                           125,000.00 .
                                                            2425 C Srf# Fts12.03222495000 Tm#120322111898 Rfbf#
     3122                                         · -· · ---wfre.trailS-svc·etia-..-9e-: 8eQUfince:-120322111eoo-sii#·---- --- --                                                                                                   15.00
                                                            Fts120322249500o Trn#120322111898 Rfb#
     3123 ...                                           · ·oerl05~-Made '" As-railt:hlstore         ··
     3i23                                               -onilne Transfer ·Ret #f"be2D$tntv to-eiili~-Market Rate savings
                                                     From Ckg to Svg for Taxes
     3123                                          -
                                                   ~eeurrin9 Transfer ReT#o"Pem1rtNffii9tOBaslcBusi~setviceS"                                                                                                               3,461.54
                                                 ----~~~!::~ ~~-~g~jp ~r:!~!tlng F~                   ____ _____ ___________                                                                                            _-·-···-·······-··-------- ···-····----··-··
     3123                                       1187 Qlshed Che(:k                                                                                                                                                          3,500.00
     3123____                -- --- -1424-cashelrct1eck -- ------                                                                                                                                                            - ?.ooo.oo -- ---
     3/.23- - ---1-42fcflecl{___                                                                                                                                                                                          -2.1,ooifc-6---
     3123    · ······ · · ····1422.... ciie;;k·········· .. ··· ·······                                                                                                                                            ·· · · ·12;-a<.iioo ··· ·····
     3i23__________i1ooch8Ck_________                                                        ··-------------                                                   ______________                           -----------4,837~41"




     3123________ -------·-1we--ci18Ck_______ -- --- ------                                                               · · ------ ------ ------ ·- 3:271".24·--------- - --------
     3123                    ----1-173-ch;;k ____ -------------···-· ··-··-···--·--·--··------------------ .-··--·-······-·- ·--------- .                     _______ -----                                                  ---3,2oo~iH




     3i23 ........ ·                            1184·---check.                                                                                                                                                           ·· 2:"2oo:2ff ··· ····· ·· · ····· ···· ·
     3i2~3-·····-                      ·-
                             -------~i182----che:ck'--            -----·-·-·-·-------··-··----·                                                                ~·--·-------·..           ··--·-··--··---··-..- .                                     . ·----..-
                                                                                                                                                                                                                             --·-·1,822~4f-··--··--·-··--


     3t23____ - --   1176--ctieck                                                                                                                                                                                         - {2oo. {2 -- ---
     3i23__________i175Ch8Ck____                                                                                                                                                                     ·-·---              ----1,211~34----


     3i23"• ···· ··  117f.. c.iieck
                         H   •••   •••••··· ···· · ······ ····· ·
                                           ••                                                                                                                                                     ·· · ··········· ···· · · {000.34
     3i23- -        -1f81Check                                                                                                                                                                                            - t.o..?~-itf== ~ ~·-~·_75
     3126____ -         ---\NT Fedti00837 Pera"tiing i.Lcfiorg;6Wartzfp serV"IWS Group Inc                                                                                              40,ooo.o6
                                                            2425 C Srf# Fts1203261970200 Tm#120326140990 Rfb#
                                                           W1re tra-ns svc tha;;ge·- SeQuence: 12032608.2287 sri#                                                                                                                ... 30.00.
                                                           0000611083 787791 Trn#120326062287 Rfb#
                                                    -·- ---wrre trariisvc Cfi~lrge-: ·seqi:ifiiieti:-126326682289 srfif                                                                                                         --··:oo:oif -- --- --
                                                            0000611083143891 Trn#120320062200 Rfb#
     3/26·····                                         ···· Wtre rra.fls ·sV<:-citarge ~-$eQuen~:-120s2s.14oooosrl#                                                                                                              ·····is.oo ·
                      Fts1203261970200 Tm#120326140090 Rfb#
     3126                              ---·--··········· -----------------·-···· - ·------- ··------ ------
                       ---------------142e--~she(i"c-t1e<:k···--
     3i2s_________Hi2Casli9d-check __________________________________________________________________________
     3i2s········ ··                            ··············wr·Fea#o38ts·B"iinkorAmeriea:··N-iftiiBiiF-Gra}ib01d.ic·s·;fir···
                                                           0000611003 787791 Trn#1.20326082287 Rfb#
     3126                ··------··-····           --·--w-r·r;ea/io3881ciiibank:i\fA7i=irisilr~;e_u-Q6il6Scli€ir-Atf"Yiia                                           _____ _                                                  15,000.00
                                                           Bergstein Srf# 0000611083143891 Tm#120326082289 Rfb#                                                                                                          ....   14 ............ ..........................
     3126                                  ··   11.4f .. chack···· ······ ·...... ········-········ · · · · ·········· ·· . ··· ····· ···· . · ·········-·- ·········                                                           S:.1oo~




     3i26-· - ----1"174----ch8Ck ____ ------ ···-····-····------·-                                                                                          .•····-----                                                . --6,      ________ ----
                                                                                                                                                                                                                                  100~14




     3(.26____ -- --- -11sir-ci1eck                                                                                                                                                                                      - 5,T79.1f -- --- - -
     3126- - - - -1167-C-heck                                                                                                                                                                                            - 1, 100~04 - - - 57,298.35
     3127" · ··       · 1111"" check ···                                                                                                                                                                                          677.24 .           -    ~.~[11
     3128- ·         - · ·- -online Transfer Ref#ibejw499Gv From Business· MarkefF~ate- ·--                                                                                             15,000.00
                                                           Savings From Svg to Ckg
     3128                    ----1f79c;hecl<: ---- -- - - .                                 - - -                                                                                                                               1,099.34
    3i2a···---··             ··- ····· ··· Hs2····ci1eck····                                             .... ···· ····· ·····                                                                                   ············ ···588.ssH···
    3129-                                   - \NT iied#ooo33 california -Linited J6rg;-J9ffray s Harris ifving- -                                                                       27,000.ll0
                                                           Trust Sri'# 20120890016700 Trn#12032909584a Rfb#
    372_9_··--·~··-·-·-··-                      ·· --··-·Wire·rrans            svc··Charge=-·s-eQuenCi:--12o329095843 srfif ·---···---------------                                                     ··-----------~-00-----


                                                    2012osooo1s7oo Trn#120320095843 Rfb#
                                                  ----                 --·-··--------------~-                               ~----            --                   -----          ----




   Sheet Seq = 0018645
   Sheet 00002 of 00003
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                Redac
Account number: - 578                           • Mard11, 2012 -March 31, 2012 • Page 4 of 6
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 Transaction history (continued)
                               Cheer<                                                                                      Deposits/       Withdrawal&'           Ending 11a11y
       Datt1                  Nr;mber Description                                                                            Cradfts                  Lk7bi'..s       balanoo
       3129                      1429 Cashed Check                                                                                              8,000.00
       3i29···       143ti····chea< ···· ····· ····
       3i30- - - - -1425Check
                                                                                                                                                i;·ooo:oo· - - -
                                                                                                                                              -35,000~00
                                                                                                                                                                    ~.~[92

       3i36____ -    118f-ci1eck                                                                                                              -···s;4ss.z·- --- -
                                     ...
       3f3o-- ····~-=~Ij~s.-e--~.~8Ck·--·-                                                                                                  . . ~~~~1.~~2.5·--=-~~;~f:.~~
       Endlns l».lanee on 3131                                                                                                                                      40.931.42
       Total~                                                                                                           $816,000.00
        The Ending Daily Balanoe do&s not refleGt any p&nding withdrawals or holds on depo$iled funds thai may hav9 b6lm outstanding on your account when your
       transactions posted. If you had insufficient aveilabltl funds w!1en a transaction posted, Fees may have been assessed.



Summary of checks written               (checks fistfiid aro aiso display<7d in th£7 prof;({Jding Transaction history)

        Number                Date                  Amount          Number             Data                 Amount            Number            Date                  Amount
        1139                  3!20                   800.00         1160""             3113                  940.82           1180              3123                 4,837.41
        1140                  3/16                   790.59         111'11             3112                 8,000.00          1181              3/23                 1,073.1{}
        1142 ..               3/9                  1,280.1.2        1162               3112                 3,500.00          1182              3/23                  1,822.41
        114$                  3/14                 1,099.34         1163               3/12               15,000.00           1183              3/30                 5,468.25
        1144                  3/9                  7,:212.97        1185.              3114               10,000.00           1184              3123                 2,280.29
        1145                  3120                   589.22         1166               3114               15.000.00           1185              3126                 5,179.11
       1146                   3!9                  3,268.81         1167               3126                 1.100.04          11sr~             3/23                 3,500.00
       1147                   3/26                 6,100.14         1110.              3123                 1,200.12:         1405 ..           3/14                35,000.00
       1148                   3/9                  1,211.34         1171               312$                 1,099.34          1407"'            3/13                10,000.00
       1149                   319                  3,2.71.24        1172               3126                 7.212.97          1421 ..           3/23                27.000.00
       1150                   3/14                   677.24         1173               3123                 3,268.81          1422              3/23                12.000.00
       1152"*                 3128                   588.85         1174               3126                6,100.14           1424"'            3123                 7,000.00
       1153                   319                  4,837.41         1175               3/23                 1,211.34          1425              3/30                35.000.00
       1154                   3/14                 1,073.10         1176               3123                3,271.24           1428              3/.26                2,000.00
       1155                   319                  1,822.41         11n                3127                  677.24           1429.             3/2$                 8,000.00
       1156                   3/30                 5,468.25         1179 ...           3128                1,099.34           1430             3/29                  2,000.00
       1157                   319                  2,280.29

        " Gap in   chf~Ck   sequence.




Account transaction fees summary
                                                                                                  Units          Excess         Sef'/iGe charg& per               Total servlc&
       SeTVice chsTgB description                                       Units used            included            units            excess units ($~                 charge($)
       Paid and De~ited Items                                                   55                 150                0                       0.50                        0.00
       Total service charges                                                                                                                                            $0.00




Fj IMPORTANT ACCOUNT INFORMATION
Effective May 10, 2012, your account may be charged an ATM surcharge fee wllen you make a withdrawal with your Wells Fargo
Business Debit or ATM Card at non-Wells Fargo ATMs that display the Instant Cash network logo. This fee is determined by the ATM
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Account number: -Redac 578              •   March 1, 2012 - March 31, 2012          • Page 5 of 6
                       ted




owner or operator. As a reminder, Wels Fef90 may assess a $2.50 per transaction fee when you make a transaction with your card at
non-Wells Fargo ATMa that display the lnstantCaah network lOgo.

For fee waiver detail$, refer to your Wells Fargo Business Account Fee & lntbrmation Schedule, or other appUcab~ account di$Ciosure.

If you have any queslklns, please contact your lOcal banker or can the phone number at Ihe top of your statement Thank you.




    Sheet Seq = 001!leM3
    Sheet 00003 of 00003
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                 Reda
 Account number: - 1578                              • March 1, 2012 -March 31, 2012 • Page 6 of 6
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 General statement policies for Wells Fargo Bank

 • Notice: W~ls Fargo Bank, N.A. may furnish information about accounts                  You must describe the specific information that is inaccurate or in dispute
 belonging to ndlvi:iuals, includng sola proprietorships, to consumer                    md the basis fOr any dispute with supporting documentation. In tha case of
 reporting agencies. If this applies to you, you have the right to dispute the           information that ~te1J to an iOOntity theft, you will nee<l to provide us with
 accuracy of information that we have reported by writing tl u~ at Overdraft             ~an identity theft report.
 Coltactlons and R.(J{;()Vary, P.O. Box 5058. Portland. OR 97208-5058.



 Account Balan~ Calculation Worksheet                                                          Number                  Items Outstanding                       Arnounl
 1. US$ the foflowng       worksh~iJet   to cal01.1late yot.r ov~rall account balance.
 2. Go through YQUr reglsler and mark ~ach check, withdrawal, ATM
      transaction, payment. daposlt or other credit listed on your statement
      Be sure that your register shows any Interest paid Into your account and
     any $8f'Vi(:!;! char~s, automatic peyment\\1. or ATM transactiorn; withdra-tm                                                                                        I
     from your acrount during this statement period.
                                                                                                                                                                          :
 S. lb3e \he chart to the rlg,t to list ~ny deposils, transfers to your account,
     outstending checks, ATM withdrawals, ATM paymE:mt& or any mher
     withdrawals (Including any from previous months) whlcll are ll$ted In
     your register but not shown on your statement.                                                                                                                       I
                                                                                                                                                                          I
                                                                                                                                                                          i
 ENTER
 A.. The ending balance
                                                                                                                                                                          I
     shown on your statement. .................... .$ _ _ _ _ __
                                                                                                                                                                          I
 ADD
 B. Any deposits listed in your                                      $ _ _ _ _ __
    register or transfer$ into                                       $ _ _ _ __
    your account which are not                                       $ _ _ _ _ __
                                                                                                                                                                          I
    shown on YQUr statement.                                    +$ _ _ _ _ __

     -· -- ··- · ·-- •• · · · · -- ·- -· •• ·- • •· -- ••. -:r'O-TAL.$ - - - - - -

CALCULATE THE SUBTOTAL
    (Add Par!$ A and B)

    ....................... -- ..... - .... -lO-TA.l.$ - - - - - -

SUBTRACT
c. The total outstanding chei:ks and
    withdrawals from the chart above ..... _.......              ~   $ _ _ _ _ __

CALCULATE THE ENDING BALANCE
    (Part A + Part B - Part C)
    This amount should bathe same


    ~~~~=er~::rn.~-~~~ -i~-.- ..... - .... -- JL.s...;;.======.J
                                                                                                                                        Total amot~nt $




t.2010 Wells Fargo Benk, NA All rights reserved. Member FOIC. flMLS.!:IID 399$01
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Account number: - 1 5 7 8
                                    Reda                           • April1, 2012 - April 30, 2012                         • Page 2 of 6
                                    cted




Transaction history

                                        Check                                                                                                                                                               Withdrawals/                                Ending daily
     Dat~                             Number Description                                                                                                                                                                                                    b(JJanae


    414
    4i4--                         1423 Check
                          - ----1T69Ch8Ck___________                          ---------------------        .---------
    4i5 ..........            · ·········· ··· -· -·····vvfFed#0042s sankotAinerita: tUoig·;fiu.ndadminiStrauon: Tnc:·
                                                      Srf#2012040500178728 Tm#120405064700 Rib#
                                                      12405B26400q0l26
    4i5-- - ---------w!Yefrans &\lcctiarg6=-Sf)quenei:-1204ci5o891"59 srfif                                                                                                                                                 30.G-o
                                                      0000011096327423 Trn#120405089159 Rfb#
    415                                   ·---wife"TrarnJ 5Vcctiar9e=·sequenCS:-120405o647oo srfif                                                                                                                           15.00
                                                      2012040500178728 Trn#120405064700 Rfb#
                                                      124tl5B26400qOL26
                                                      onlineTraii-sier ReH#i&eXildti74v to susiOeie Maikfrt R.a\e
                                                      Savings From Ckg to Svg
    415                   -    ~-   --- - - ~--online Tran-srer·Rer-iib859Yh_lQ.r-to-euafness-che~*irlg·Fro-n.-iAto -                                                                                               .25,000.00
    4/5 ...                                        ··----~;n..........   .....   ------···-. -··········-- ········· ········-·--·-·-·-··- -
                                                      WT Fed#Oa473 Citibank, NA /Ftr/Bnf=Eugene Scher Atf The
    415                                      Bergstein ---
                                 --- - 1428--ctieCk--   Srf# 0000611096327423 Tm#120405089159 Rfb#
                                                           ·- --- --- ·-- - ----- - -- --- -- - - -------- - -- --- -
    416--                     -- -- - -- ~eeurring rrinsier ReT#ope5fJYpdyyto~ 81.lsinesaservlce5-
    ---------- -----------~~~-r~~-~_!?!<.)P ~r:'~f.ting F~--------------···--·-------- ·--------------
    416                  1449 Check
    416         -- --- - 144f-ci1eck.
    4/a·- ·- · ·              -~-···-·1-438-----ched<·--·--·
    4/6........... . .             1491....Check        . . .................. .
    4/6-- - --1435Check
    4iff _____ . _ · --·----                            ··-
                                      ---1.447--check·--·~---


    4is- - · -----1445Ch8Ck·----
    4is-                      · ···143.2··· check. ····
    4i6- -                      --i437Check
    416_____ --- --- - 11"68--Check
    416- - - - -149.2Check
    4is ···            ··· · ·· ·· 1444- · check.·
    416- - - - -1439--check
    4fa _____ - --·--- --144ff"cfieck:_______ ----- ---·--
    .uo- - -- -1.434 cashQd-ChMk - - - -
    419-                   ··· ·· 144.2·· ·che6k --
    4/s·-···- ··---..·--i440-check·--..·-··-···-··-·-
    4f1o ____ · - -------                                -
                                       ·:;:;w:a--c~k:·--·---



    4116                           1495 Check
    4!j:~r·····   . · -·              ·. . 143s··. c·heck.                                                                       · ··· . . . . . . . ..
    4(11                   ··---      -------~ndM~ianeoos"Fee(s_>_:                                 _ _ --------------·-··--- ----------------                                 130.00-·--··---··-- .. - _...... _____ .... --· .. --·----·--
    4i1r·-- · - ·------ - - - ---sfoi:i.PaYinenii=ae___ ·-- -· ·- ------ --- ------- --                                                                                      ------·---·
                                                                                                                                                                                                                           31.00
    4H1- -                                 -       ---stoii F'aymaritFee--                                                                                                                                       -    ~.Otf               ____ -
    4111'········                        :~        ·····si~p-~~efiJ~~==
                                                                                                                                                   .... ··················· .......... H.. ········ ...... H····s1:ooH········ .
    4111- -                                          Stop payment f:'ee
                                                                                                                                   -------------                             -------- --3foif __ _
    4i1r·-- -                              - ---sfoi:i PaYi1iant Fie                                                                                                                                                  --31.06 -- --
    4111-                                  - stopPayment Fee--                                                                                                                                                   -    ~.00
    4ih········                            · ·····siop Paymenfi=ee ····· ····
                                               H
                                                                                                                                                                                                                  .... 3'1:66 ...
    4111- -                                  stopPaymentFee--                                                                                                                                                   -     ~.00    ----
    411r·-- -                                ---stop Payment F.ee                                                                                                                                               - ---31.66 -- --- -
    4111-                             -- - ·-srop Payment Fee--                                                                                                                                                 - 31'j)o          - - ·---
    4i1 1-                                    stop Paymei1i Fee·                                                                                                                                                         -31.06 .
                                         - stop Payment r-e-9--                                                                                                                                                 -                        __ _
    4111- -
                    -·-                    _ siop
                                                                                                                                                                                                                     ~.00

                                                                                                                                                                                                                                         -- --- -
    ~~~-----                                       ---~!6~~~-=~~~==
                                                                                                                                                                                                                      ---~Roo

                                                                                                                                                                                                                - 31jf6 __ _
    4/H                                            ·    PaYrnent Fee ·· ·                                                                                                                                         .... 31.00 .
    4111---                               -        St~pPaymentf='ee              ____                                                   ~~--              ~                                                     - -31·.·oo               -~

                                                                                                                                                      ·-· -------·---- ---                · ·---------·-··----- ----31-·.oo··---------- ------ ----------·-- - - -
    4111                                  ~----sfo~~~-er!!~~==                                                                                                         -·· ·-··. -·                          . . -·  ~-~oo-            . ---···-·
    4111---                                .. ......§~9.P P?)!ry}~n,.t ~~ .......                                                                                                     ............................ ······························· ............................. .
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                Redac
Account number: • •11578                                        • April1, 2012 - April 30, 2012                                      • Page 3 of 6
                               ted




Transaction history (continued)
                                   Ctl9CI<                                                                                                                                    Deposits/               Withdrawals/                Endingr1aUy
      Dato                        Number DescriptiOn                                                                                                                            Cfa<ffts                                                    ba/Qnce
      4/11                                 Stop Payment Fee                                                                                                                                                     31.00
      411 f ....... ·                      · ·····sioii Fiay;:iieiiti=ee ··· ·                                                                                                                        ··      ·····3·toif···
                                                                                                                                                                                                           --31~00---
      4111                                       Stop Payment Fee                                                                                               - --31.06 -- -- -
      411f____ ~----~--~-----s~P.-~~e-~If~---=                                                           -----·-----···-·---·----·-··------------ ----------- ·
      411_1_                                 Stop Payment Fee                                                                                                                                              ---s:~=oo·-----12;&i7.37

      4113........ · ··········· ··· ·14oo····ci16Ck ·········· ·.. ··· ····· ····                                                                              _12j.i&i(io                                                              ~--~?;_37
      4/16-                       ~ -8arik OrigirlatedCredlt
      4116                             ·- ---onlineT"rarisrerRei'-#ibee45Atz}IFrom-Bi.iitli:iiW-M"ari<ei ruiie____ --
                                          ·····-~"i~~-~..F.:f?.ll!.~\1..~.9.~Q . 4: "!:~..<.!~ ~1-~i~Q ..I.?~i~ ...... ·····················
                                                  Online Transfer Ref #Jbeqpd2J9K to Business Checking From lA                                                                                              20,000-00
                                                  to Zkoo tor Wireto Jerome Swarts
      4116
                                        ·· -   ·--iRsus~iiaxpymf041612-2io2so71230011oTnte9rat6d                                              . ------------ · ··------·-- -· ·---··--- ----- ---·-- ·     -44:639~89_________          -- ·--·----
                                                  Admi nistrat
                                                 ·em~oymem              oevelEdd Eftprilt04161z.oo6f3a38· ·                                                                                                ·1o:559_04 · ·
                                               Txp'"00613esa*011 01 ..120323.T*137346"'"Nl19558"'r105
                         · ------- · -···1438--ct18Ci<·--·---- --·-····--···---··--······· · ··---------·-·- --·----·· --·······-··· ··------ · ·-· ---------·--·· ·                                         6,100.14
      4116
     4/16- - --- i497Chack         -~                                                                                      - 2,549~00 - - -
     4116 .        · ·· 121s check ·                                                                                       · 2:·o1o.oo ·
     4/16- -         - ·- - ~(ioymentoevei-E.ddEitPmt 041612ooe13~8-                                                         1,433:92 - - -
                              Txp*000136s8·o1sw 120331..,.-.139295'"1""4097"1"'14339
     4116      - - ·-·:i493 Check__________.. _____                                                                        - ·1-,
                                                                                           -~-····-------·-------------~--····------    --·-                                                                   1-00~04-                 ~!.~-~-~~~;;~



     4117 ·          ··1431 ci1eci< ·                                                                                         ...7oo.oo ·    16,334.75
     4i1·6- -· ---~-1496-check·------------------·-~-------------------------·-----·-· ---------------- ----------~--·=== ··-~-;-~~=~-==---~s;:f?([so
     4119____                             -------online Transfer Rt}(#i&e583P2JfG F'rom-awines$-th~-From                                                                  450,000.00
                                                  Plneboard to lA
     4119                               ·· .   ······o-niine·::r·r~ri5ter·Ret·HibeSB'SP2Zw-·to·aa~·eus·inm··servioos··pack                                         .·   ..... ·.................
                                          _______ !:!!!.ryl.J~JQ_I_<,P !2_9..~~!_~~~----------------· - ------- ··------·----- ... -----·---······                                                     ·   -12-:aoo~oo··------------          ---------
     4119                                         Online Transfer Ref #tbexhhqkw5 to Complete Advantaga(Rm)
                                                  From lA to Kia Return of Loan
     4/19···· ....                             ·····aiiiinerrailsrer·Re1··#1b6qpcipx:z·ie·to.stisiiies5M.ark'ii.Raia·saviil9.5 ·                                                                       .·4ttooo:oo· · · · · ·
                                                  From Ckg to SVg for PR Taxes
     4119                          - - ---onlint:tTiaiisrer Ref'#it;eqP<:JpYtfd t:o 13usine5S C:hec-kin-a f'rOI!J IA:                                                                                      45,000.00
     4/19......                    .............. IJJ..J:9:1l ~--~XP.~Il.B~... ....... .................
                                      1349 Check
                                   -13So--checi< - -                   ~     ~          - -- -                            ~
                                                                                                                                                                                                       ··23~·ooo:oo
     411~                                                                                                                                                                                                  ~ ~~.QO        - - ~ 1~1,_!?~·_30
     4/.26 ____ -                         -.. ----oepos«- ---                                                    --· --- --· -------
     4120-                         - -··-Wire iiins sVc Cheu·ge-- $eQ-uenr::i: 1204201o4086srf#·                                                                                                                30.00
                                              00000111113771£4 Trn#1.204201 04086 Rfb#
     4120                                 - ~curring Tranafir Ref#O~pdvlqqto sasiCi:fusinass.Services-                                                                                                       3,461.54
      -·-···- __                        ___    ~-c-~f~ l~_t_t?~~~~~-~~-------------- -·---··-----·-·--···-··--·-···-·---··---·---
     4120                                        Rewrring Tl'8nafer Ref #O~ld!hwdnc to Comple\$                                                                                                              4,837.41
     4i2o- ·---~-fss2-~}mlfe~1~~om~-~-~m-~~-~_!_~~~-a..¥!:~- ----·---···--------- --------·-- ···--·5]oo=oo·----
     4i2o____ - ------                   -- ---·-- -· - --------- ---------- ·--- ·----- --- -------- -- ·-- -- ------ -· · ------ -- --- --- ·-- ·-· 7.212':9-r------ --- · ----·--·----
                                    --1224--casheifc-t-i~k


     4i2o- ·------ --------wt-Fe<ftros454JPmoi9anchase eaii/Ftr/Bnf;Rager shiff·m~in___ -------····----                                            -1o,ooo~Otf______ - -

                                              Srf# 0000011111377164 Tm#120420104086 Rfb#
     4120           -···-------·-·-·-----·---chfi.Ok" ________ ··---------------·--·--·--·-·------·-----·-··------·                            -~·-------·-·-------·--·------------··-

                                                                                                                                                                                                           16,416.06
     4i20 ____ . ---· ·-------.. -···i22s--ct;eck·--·---- . -                  . --------·-·-·-------- ··--                                                                                                - 3:a6o.ef ------ - -
     412o- - ·--- -·1~~~... .,9..~eck --· -· ·- ·--                                                                                                                                                        -. 3,500.00 - - -
     4i2o····· .. ·                 1225 check                                                                                                                                                         .   ""3~268~81"          ....................... ..
     412-o- ·-------..-354---chaek:___________ ·--··-·---·-------- ----·----·--·-·-·---·--                                                                                                     -------·--3,ooo~oif-·------··-----

     41.2o____         -- ·--- -123<f-clieck                                                                                                                                                               - 2,637.94 -- -- -
     4i2o-           -            - 1.234--check                                                                                                                                                       -- 1,822.41
     412o· ··                        1.222 · check                                                                                                                                                          (2oo.1.2
     4/20-           - - - -1227--check                                                                                                                                                                     (211.34
     4i16____          -- ----- 1223--Check -- --- - --                                                                                                                                                     {a99.M -- --
     4/20-           - --~1i;3Check                                                                                                                                                                    - ~on.io          --~
     4!26 .... ·       ··· ······ ·· 122cr··check···                                                                                                                                                        ...940.82 .......... .
     412o-           - ---- - 1i29Ch&ci<-- -                                                                                                                                                                817.24 - - -               ~·-~:.59
    4/2~f·--           -- --- - - ---onnne 'Trarlsfer Ret-#1i;eugwi7Q-F!Qm-susin_ess_Ma-iket Rata ---                          40,000.(}0
                                       ··· ..... ~\1~~~~-.f.~~- &.'.~ ~?.. ~~.                    ..... ..... .. ......... . . .. .......... ............ .




   Sheet Seq: 0054112
   Sheet 00002 of 00003
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Account number. - 1578                                      • April1, 2012- April30, 2012                                         • Page 4 of6
                           cted




Transaction history (continued}
                                 cnecr<                                                                                                                             Deposits!                                                  Endfngaany
     /Jat(1                   Number Dest;ription                                                                                                                       Credits                                                    balance
     4123                                     Wire Trans Svc Charge - Sequence: 120423096382 Srf#                                                                                                         30.00
                                              0000011114 750674 Trn#1204l3096382 Rfb#
     4123             - ---- -           ----wrl=8d#07fi4JPmorgancnaseean/Ftrlsnt;;;phoenTxTire---                                                                                                  73,539_42
     4i23_____ . -----i231-ctieck:  ____________________________________________________________
                             Insurance  Srf# 0000011114750074 Tm#120423006382 Rfb#               _
                                                                                                                                                                                                   .... ~?.~~:~ ...................~!~~~~
     4i24········ ·              ··················wr-Fed#o271s1·suiootu·;y aafikio;;g·;weifiiia·rt:e·n·a;:ownTtF>........ .
                        ________ . _ _-----~~.?.~-~2.Q:!~!1~Q?E.I~~~~?Q~~!!g4?!.~-~ _________ .....
     4(24                                     Wire Tran$ svc Charge - sequence: 120424124374 Srf#                                                                                                         15.00
                                          2012042416025 Trn#120424124374 Rfb#
     4124                        1'237".. casiie{fctieck··  ............ · · ·................................                                                                                   .~ 5:'179:if
     4125-                    --·---- -----oeposltMadiirlAsrarlC-tV'Store                               ·--~----~---·--·-

     4125 ____ · ·-· ·------·· __. _- ---w~;:e rrailiisvC:-etia-r99: sei:iuence:-12042s1c>'9289si-Hf                                                             ... ~-~·~:Qt? _____________ . -·· ·------·------------------ . ··-···---------·--·
                                                                                                                                                                                                          30.00
                                              0000611116309205 Trn#120425109289 Rfb#
                                         · wwerraos s\ic Charge~ 5eQuence: 1264251o9:z91 sit#                                                                                                          ····:so.oo
                                              0000611116541305 Trn#120425109291 Rfb#
     4125         ·- ·------ - · ---     ---w~;:e·rr-ails-·svc-Ctia-r99-:                 seQuence:· fi042s1o9295-srt#- -- --- -- · ··- ------                                                            30.00
                                              ooooa1111e-r3430s Trn#12.0425109295 Rtb#
                                           · Online Transfer Ret #lt>e584\iYiTik to aa8·1C au sin~ 5erviCf3s.. Pack ·                                                                             2oo:ooo.oo ·
                                             From lA to Kp to Pay Amex
     4125             - ---··---·- ·- ---oniina·Tran-srer-Ref-#1befi9C3GS ta-eus~ness··MarkefRatB savtngs                                                                                           40,000.00
                                             From Ckg to Svg Return of Advance
                                         ·····Online Transier Rerinbee47.xiiV to suaine&e checking From ii\ to                                                                                     ·1s:s1a.oo
                                             Zkw 4 Wire to Aks Professional
     4125                            - ---WiFed#oo934rcfaankt.lA'7Ftrient;;f,JSw chtria-Me<Ji8 sri#---                                                                                              20,000.00
                                             0000611116541305 Trn#12042S109291 Rfb#
     4125                            ······--m ried#oo936 Jpow~an c~Ws-e·aaii"i'Ftiiei.lf;;;iiiati·c;·iial finafi(;·~,
                                             Services LLC Srf# 0000011116309205 Trn#1204251092B9 Rfb#
     4125                            ----·--wr-Fed#Ooos7·san-k'oiAine-rlca~-N'IFt!iBnF-Grayi.lOxlic·sifif                                        __ _                                               50,000.00
     4125........                         0000611116734305
                                  1353".. ch9Ck                             Trn#12.0425109295
                                                ......... ·.............................. · ·········· .... ··· .....Rfb#
                                                                                                                       ·..... .
     4i25___ ·-----i44Tci18Ck_________ ---------·-····-·-----------··--··----····
                                                                                                                                                                                                   · :fooo:oo . .
     41.26 ___ _                                                                                                                                                                                   -- ---30.00
                                                                                                                                                                                                        s.w:o2·--~2~r:TI:C7o
                        Wire Trans SV1:: Charge~ Sequence: 120426122999 Srf#
                                             0000611117534515 Trn#120426122999 Rfb#
    4i26"·····                         ·······w·~;:e·r;:~;-oo··svc;·dlaf96·-~-sef.iua·iic:e·:·12642s1230o2sii#···                                                                                   · . . 30:oo
                                             000061111753651 S Trn#120426123002 Rfb#
     4126                            - ---wirerrarnisvcCt1~1r99-: sequence: f264261236o~fslf#­                                                                                                            30.00
                                             oooo611117719515 Trn#120426123004 Rfb#
                                         ····· wt Fed#b255a Granci"polnt eailt</Fir!Bnt;;;cOnquer.cr6dit ·
                                             Management Srf# 0000611117536515 Trn#1204261230(}2 Rtb#
    4i26 ___ _                    - -···---wr-F'ea#Oi552-eaii-kotAiriEii-iea~-NiFtiiBiiF-Gra:YiiOXITc·sff#____ ·                                                                                   ·30,ooo:Oir ______ -
                                             0000611117534&16 Trn#12.0426122eOO Rfb#
    4126                                 · wr Fed#02555 sankotAinariea: N. !Fii!Bn.,;;rnistoel>t rx Funds                                                                                          ao:ooo.oo ·
                                             Transfer Wil'6 Sri# 000001111n19515 Trn#120426123004 Rfb#
    4126                          149·9--·ch-eck·---~---          ·---·------·--------·-..····- ----------- --------·-------·-------- -------·----·--              ·------------·----------·-- ·   -2~ooo~oo·--------·---


    4i2s____ ------i235Chea< ___ ·-------                                                                                                ------------------------- --s,468:2ir---------------
    4i2if......         1494.... check ........... ·.......... · · · ............. ...                                              ... · · ................. ···· ................. ·_ ·        ~_(ooo:;!i!:.=.:=~                  H   ....... ..




    412~-       - - - --,1".238-Check·-- ---------·--                                                                                                   ··--------·-----··-
    4i2i____ -·                   · · -·· ·--wti-errans'SV!:-etia-,99-= $8Gueiice:-12042711713i-sii#·
                       . ... ..... . . . ..... ~-~~-~-1-~-~~.1~?,5 Trn#120427117137 Rfb#
    4127                                    WT Fed#01211 Jpmorgan Chase Ban JFtr!Bnf=Phoenix Variable                                                                                                                             35,324.77
                                        life lnsurance
                                 12-19--Cheek   -- --- -- Srf#    0000611110061925
                                                          . .___________ ------ ------- Trnl/;120427117137
                                                                                        --- --· ---- -------- Rfb#
    4130          -     ----------                      ----                           ----
                                                                                                                                                                                                     1,100.04
    413o-                                                              ---~---



                                            IRS Usataxpymt 043012 270252192604224 Integrated
                                                                                              --·------------------~---


                                                                                                                                                                                                 - 620.98 - - -                   33,603.75
                         - - Admi
                             - nistrat
                             -    ---
    Ending balanC() on 4130                                                                                                                                                                                                     33,603.75
    Totals                                                                                                                                                   $1,215,130.00                $1,282,507.67
    The Ending Daily B<ttanc& does not ~llecl any pending wlfhd~w<tls or ho'd.s on deposited fimds tfl<Zt may have been outstanding on your account whatt your
    transactions pQSied. ffyou had iftsufflcient availab~ funds whM a fran$actk.tn po$t$d, fees may haV!it beM .tJ$se5S~d.
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                Redac
Account number: - 1578                   • April1, 2012- April30, 2012             • Page 5 of 6
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Summary of checks written         (checks listed are also displayed in the preceding Transaction history)

      Number              Date               Amount         Number           Date                  Amount           Number                 Dat&        Amount
                          4120             16.416.06        1238             4126                  1,099.34         1440                   4/9        1,073.10
      1168                416                 940.82        1239             4120                  3,500.00         1441                   4/25         549.02
      1109                4/4                 790.59        1349~            4119                 23,000.00         1442                   4/9        1,099.34
      11136-              413               1,099.34        1350             4/19                  2,000.00         144S                   416        4,837.41
      1218.               4!16              2,070.00        1352,.           4120                  5,500.00         1444                   4/6          677.24
      1219                4130              1,10().04       1353             4125                 3,960.00          1445                   416        1,822.41
      12.20               4120                940.82        1354             4/20                 3,000.00          1445                   4110       5,469.25
      1222.               4!20              1,280.12        1423.            414                   1,020.00         1447                   4/6        2,637.94
      1223                4120              1,099.34        1427.            413                   5,000.00         1448                   4/6           287.23
      1224                4120              7,212.97        1428             415                  5,000.00          1449                   416        5,179.11
      1225                4120              3,268.81        1431,.           4117                   790.59          1491 ...               4/6        3,500.00
      1227*               4120              1,211.34        1432            416                   1,280.12          1492                   416           940.82
      1228                4120              $,860.61        1433            4/10                  1,099.34          1493                   4116       1,100.04
      1229                4!20                877.24        1434            419                    7,212.97         1494                   4/28       1,099.34
      1231*               4123              1,099.34        14$5            416                   3,268.81          1495                   4/10       2,500.00
      1233.               4120              1,073.10        1436            4/16                  6.100.14          1496                   4118       3,155.45
      1234                4120              1,822.41        1437            416                   1,211.34          1497                   4/16       2,549.00
      1235                4/26              5,468.25        1438            416                   3.860.61          1498                   4/13      12.000.00
      1236                4120              2,637.94        1439            416                     497.72          1499                   4126      25,000.00
      1237                4124              5,179.11

      * Gap in check sequ811Ce.



Account transaction fees summary
                                                                                        Units          E'xC!tiiS$      S9TVice ch:aTge p(}r       Total SliiiiVIC9
     Selvice charge description                                Units usM            fnclr.Jd'ed         unit$              (;OO;&Ss   units ($)     charge($)
     Paid and ~osited ltems                                           65                  150                 0                          0.50              0.00
     T~l :servl~ ~;harge$                                                                                                                                 $0.00




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   Sheet 00003 of 00003
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                 Redac
 Account number. - 578                                 • April1, 2012- April30, 2012             • Page 6 of6
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 General statement policies for Wells Fargo Bank

 • Notice: Wells Fargo Bank, N.A. may furnish information about accounts                         You must describe the specific information that is inaccurate or in dispute
 belonging to indlvk:iuals, including sole proprietorships, to consumer                          md the basis fbr any dispute with supporting documentaUon. In the case of
 reporting agencies. lf this applias to you, you have the liJht to dispute the                   information that reates   to an id(mtity theft, you will need to provide us with
 accuracy of itrtbrmation that we have reported by writing to us at OVerdraft                    an identity theft report.
 Collections and Recovery, P.O. Box 5058. Portland. OR 97208-5058.



 Account Balance Calculation Work&heet                                                               Number                     Items Outstanding                        Amount

 1. Uoo the follo~ng worksheet to caloulate yol.l" OV9rall account balance.
 2. Go through your regi&e,r and mark each check, withdrawal, ATM
    transaction, payment. deposit or other crodllisted on your statement
    Be sure that your register shows any Interest paid Into your account and
    any serviQe chariNs, al.ilomatio payments or ATM transactions withdrawn
    from your account during this statement period.
 a.   Use the dlart to the rlgrt to list any deposits, transfers. to your account,
      outstending checks, ATM withdrawals, ATM paym~ or any other
      withdrawals (including any from previous months) which are listed ln
                                                                                                                                                                                    I
      )'OUrregister but not shown 0.1 your statement.

                                                                                                                                                                                    I
 ENTER                                                                                                                                                                              I
 A.. The ending balance
      shown on your statement. .................... .$ _ _ _ _ __

 ADD                                                                                                                                                                                I
 B. Any deposits listed in your                                            $ _ _ _ __
    ntgister or transfer$ into                                             $ _ _ _ __
    your account which are not                                             $ _ _ _ _ __
    shown on your statement.                                          +$ _ _ _ _ __

      •. - •.•.... ---.- .. --.---.-.- ...•.. -.-':(()TAL.$ - - - - - -

CALCULATE THE SUBTOTAL
      (Add Parts A and B)
                                                                                                                                                                                    I
      •.. - .•.... - .•. -.-.- ..•. - ...... - .... - TO.TAL..$ - - - - - -

SUBTRACT
c. The total outstanding checks and
      withdrawals from the chart above .............                  ~   $ _ _ _ _ __

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same


      ~~~~=a~::n~-~~~ ,'~.                     -.... - --.-.-                    =====;;;;;;.J
                                                                     -1L$.....;;;.


                                                                                                                                                  Total   amount $




(l2;)1ll Wells Fargo Bank, NA Nf rigni'$ reservl:ld. Member FDIC.   f-.IMLS.~   fD 399$(11
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                                                        cted
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                Redac
Account number: - 578                                                                                              • May 1, 2012- May 31, 2012 • Page 2 of 6
                                                     ted




Transaction history

                                                             Check                                                                                                                                                                                             D&positSI                    Wtthdrawatsl                       Ending daily
     Date                                                   Number Description                                                                                                                                                                                   Credits                                 ~bil$                     b(llanae
     5/1                                                                                  WT Fed#03294 1St Century Bank fOrg=Welngarten Brcwm Srf#                                                                                                        125.000.00
                                                                       . _·--~!.!~_T!!!It.1 ~?.q!_~~-~9~§.13~--------------------- -------- --------·-----
     611                                                                                  wire Trana Svc Charge - Sequence: 120501147025 Stf# 43176                                                                                                                                                       15.00
                                                                                          Trn7#120501147025 Rfb#
     5H                                                               ·-· ·······-·a-riiinetran.sier.Rer"iitb&mSQ2MYio·ausii16SS.ci1eckin{i r:roo;··iA···                                                                                                                                             3:2,000.00
                                                                       -   --------~-~~-------- ··-····-----------·--···---···· ··------·-·-···--------··-········-·-·------- ---------------·                                         .. -·----···--··   ..
     5/1                                                                         Online Transfer Ref #lbe5136M9Kt to Business Market Rate                                                                                                                                                             32,000.00
                                  Savings From Ckg to Svg for PR Taxes
     511       ··· · · · ·· 1355· check-     ··· · ···· ···---·--·--······· ------------- · ·-· · ·                                                                                                                                                                                   ·1s;ooo.oo
     5i1 _____                             ·---~i264Cii8Ck--------------------·--···----------······•····-----                                                                                                                                                  --·-·------·-··----- ·-··-·9,soo:oa·-·-----
     5i1 ______ ---- ---------i22f-clieck ______ ··- ·- ---·--·-·· · --------- ------- ------- ·-------···-·--------                                                                                                                                      ..... .-------····-··-··--··---··--   "~''""-790~~~--==~=-·--~~~1'_~

     512- -                        Online Transfer Ret #fbemsgb5P8- f:romBuSiness ChecklnQFrom                                                                                                                                                                 25,000.00
                                                                          Kjm to lA to Cover The: Wire
     512                                                                --w~r:etrans s\lc Charge~ s8Quenr.:i: 12050i0904o1                                                                                                sr#i                                                                            30.00
                                                                          0000611123 572175 Trn#120502090401 Rfb#
     512                                                             1SSeCashed-Check. --                                                                                                                                                                                                              1,200.00
    512     - ··· · ··· · · wr Fed#o8214 citY NatiOOai" aaill<iFti-iSnt-:aarnes tilw Firm srt#                                                                                                                                                                                                        2s:ooo:oo                    68,068.16
                            0000011123572175 Trn#120502090401 Rfb#
    s1s    -- --- - 124f-cashed·c-t1eck  -- ------ · ------ - ------- --
    Sis- - ---1226Cheek: ___ - - - -
    5/a          · ·· 124f.. check ··-- ····· ·· . . ··· ···-····· . . . · ·········· ··
    &4- ------------·-onilne-namirer-Ret #iliei.ZCiveP From-Buslriess-Markefkate __ _
                                                                       ----~:V.i~~~ro~~- to ~Q·--·---·--·--------·---------··--···········----··-···
                                                                                          Recurring Tr1msfer Ref #OP<ttikpYjj to                                                                           Be~ic   BuuinOO$ Service~                                                                   3,461.54
                                                                                          Pack From lA to Kjp Consulting Fee
     514                                                                   - -Reeurrin9 rra-nsfilr Ref#OPexhm8fy.fto-eompiete-                                                                                                                                                                         4,837.41
    ··-····--· __ ------------~X~!:'~e(f3!!:!J!!om~t? K Jamt'~~..!.<?~~!:!!_
    514                    1260 Check                                                                                                                                                                                                                                                                  5,179.00
    514 .               -- 125f cileck. ....                                                                                                                                                                                                                                                       :(800_61 .
    5i4- - ---- 1i59Ct1ack                                                                                                                                                                                                                                                                       - ~637~94 ---
    5!4 ----- -- --- -1256--Check                                                                                                                                                                                                                                                                      1)11.34
    5!4- -              --1248Check - - - -                                                                                                                                                                                                                                                      ..    1,099~34
    514 ··     --- --- - -- 1.256 ci19Ck                                                                                                                                                                                                                                                               {o7S.1o ·
    514- - - - -                                              - 1243                     Check                                                                                                                                                                                                   - 940.82 --- -
    &4_____ - ------ -1358--ctieCk ______ -                                                                                                                                                                                                                                                      ·     --·-oo~4a·-------- -~.~sa
    6/7___ - - - -- 126.2-----check                                                                                                                                                                                                                                                              - asoo=oo -- -
    sr1                         ·· 1248 cl-ieck
    &7 _____________126acf1ecl<-- --
                                                                                                                                                                                                                                                                                                       3:268.81".
                                                                                                                                                                                                                                                                          _______ . _______ ·
                                                                                                                                                                                                                                                                                                -----2,5oo=ocr--·--
    5{7_____ - ------ --125f-ciieci{ ------ -                                                                                                                                                                                                                                                    ---·~a22-:41·---------·-------·----··--------·-··




    5(7                             1254 -Check                                                                                                                                                                                                                                                  -- 1,099~34 - - ..-........-.-................... .
    si7 ··········· ··········· ··· ·1.2M···check                                                                                                                                                                                                                                                      --·7oo:59···
      -·····-·                  ·-~·      ··---···-·-··*--···----·-···-····-----··--·--··-·-                                                                                                                                                                                                    -------------------------- ----------·-·--
    517                                                             1252 Check
    518-----·· - ··------ -1363--ci16Ck ______ ..... -- ------ -· . ---------------- -·
    519-- -                      - ---stop Payment Fee Ravei'Sal                     - - --
    5i9 ·····--···            ·· - ·····stop ·PeymeiitFee -r~ev-en;al·
    5/9- -                     ·-----stoP:f:iaYiTienTFee Reversal-----
    519-----                     - ---sfoii Payment Fee Rellai'Sal
    519                             --sTop Payment F'ee Rever-Sat-- - -
    5i9 ···               ··· ··· · --···sioii F>ay;Tiarit"Fae -REiveNial ··
    5/9-- -                         ---stop Payment Fee Revei'Sal--
    519 -----                                                              - ---stop Payn:lent Fee Re~rsal
    5!9- -                                                                      --stop Payiner1t Fee Ri:Nemal
    519 ···                                                                       ·stop PiiYffielli Fee RSV6rsal" ·
    6/9-                                                                        stop Payment FesR8-;e:r-saJ-- ·-
                                                                             - - ---
    ~~--------- -- -~=..:.. -----~~~~~~~~r~~~~~e;:~~msusiiless-Mar--kerRa1e___ _
                                                                                        Savings From Svo to Ckg
    519                                                      -     tisache(;k-- - . - --- -
    .. _._.,. _ _ _ _ _ _ ,_ • ._, _ _   ' - - - - - - - - - - • • .. ' ' - - - - - - - - - - - ..· - · - - - · - - - - - - - - - · - - - - .. ___ ,_ _ _ _ _ _ _ _ _ ........ M - - - - - - - · - · - -


    619                         1360 Check
    57~,.-1--··-··-·-····-·-··= .. ~--~· ......~~f.~~~~~f~J.;~~~~~~~~~ ~-~~~                                                                                                                ...                                                      . ?0.. . 1.?.~·0.0.
  Case 2:15-cv-06633-CAS-SS Document 408-22 Filed 04/10/19 Page 35 of 45 Page ID
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                Redac
Account number: - 578                                       • May 1, 2012- May 31,2012 • Page 3 of 6
                          ted




Transaction history (continued)
                             Cft9CI<                                                                                                                                                 DeposffS!                                           Endfngr1ally
                            Number Dr:;$cription                                                                                                                                       Credits                                                    balanoo
      5114                                   Online Transfer Ret #lbefzfsjwn to Business Market Rate Savings                                                                                                    20,000.00
                                             From Ckg to Svg
      5/14                      1245 Check . .
      5115 ____    -
                                               Online Transfer Ref #lbexhpsxqw From Business Market Rate                                                                            63,000.00
                               ............... ~\f~~~~..~"?.m.. ~~.~.~~~ . t(}..~~r..!:>.~.!~~e.~ ....................
      5115'"'""                              IRS Usataxpymt 05151.2 270253641370650 integrated
                                             Administrat
      5115                        -··--emjjoymefii oev&i-Ed~-Ei\Pm-fos1~H2-ooof3638·----- ·                                                                                                                     11,932.89
     5115.......                        Txp"''0613638
                                1265... check                  ..011 01 .. 12042o•r1529~WT"1040308"T"11
                                               ......................................... ·................................ ·..... ······ ............. ··· ·                                                   .....   1~"537~50       '"' ,, ............... .
     5115-- ----1T64-check                               - - - --·- - - -                            ·-----· -----·                                                                                            ---      78i~75         - -· - -
     5i1s-·--·· ··· ------ -··· ·····--einjjoym.eilioev8YE'dd'EftiiiTITos1s1·ztfoof3638·-----·· ·····--- ..........                                                                                            -       "664~61'·-------       38,062..58
     5116                            Txp"''0613638
                                1242 check... . . ...013W120631YT*64562"T*1899*T*66461
                                                      ........................................................ ···········. ...                                .
     5116- - ---i359Chect<---····---
     5hr"·-- · -                · · ......... wr.F'ed#0592ssaii-koiA:ina-riea~-N'for:Q;i=ur1daCiiTiiiiiS1TatiOil:.inC.-
                                             srf#2o12o51roo17os36 Tm#120517065580 Rfb#
                                             12517B211SPI1202
     5117                          -- VVtreTfans SVG-·Cha~~- 8eQuenCi:- ·;2Q51-7o655-so srt#~                                                                      - -----                                                15.00
                                          2012051700170536 Trn#120517065580 Rfb# 12517B2118Pi1202
     5117                          -    -online          nimsrer
                                                       Ret #~Fdc64                           Pack:           to saSki'Btislness services                                                                        43,000.00
                                             From lA to Kp Retum of Amex Loan
     5117                        ---·-onifne.nansfer..R'et #ibe5Bbcvcy to.eU&frle;;·rviarket R8ie.sav•ri9S                                                             -------       ··--·------···--31-,ooo-~Oif                  ____ 112,1376.72
                                             From Ckg to Svg for PR Taxes
     5118                    - - ff"ecurrin9 rrinslir-'Ref#dp&f29i4Gw to Baile Business $e..V!Cei                                                                                                                      3,461.54
                                 ----·~g_k._F.:~ I~J.'?.~~~r:'.~.~ing F~······-·--···--·····-·-·--                                                     . -·-····--··-·· ·-···-·--········· --·-··--··-·-·--··- --·····---··--·····--··-
     5118                                    Recurring Transfer Ref #Ope87Cz9BT to C<lmpleta                                                                                                                         4,837.41
     5i1·a-· -- ----i284 ~~~*~)!!om~J?I< Jam_~~':!..~J?~~J!'~ ·-·---· -------·-------·--- · -·5, 179~11" ____
     5Hs........ · · ........... ·.. 127f.. cashei.fcii'ecie ... ·                                                                                                                                      ...... ·· r:·s&df ....... .
     5Ha- -···-----1-361'Ch8Ck______                                                                                                                    --·--------                  ·----··----              23,ooo~c-if          _____ ----
     sf16----            --- - 1364--clieck -- --- - -- ·                                                                                                                                                      ·1z:ooo.oo -- --- -
     5Ha-··- -----1.275Check·----                                                                                                                                                     ---------····-·a,astf6f __ _
     5H8.. .....  ·"12si".. ci1eck                                                                                                                                                                   · 3:·soo:oo
     5/18-             - - -1272---check                                                                                                                           - - ---            -·- -          - 3,268.81---
     5118____ - -- --- -1283"-clieck                                                                                                                                                                 - .2;637.94 -- ·--· -
     5118               1.281 check:                                                                                                                                                                 - ["822.41
     sHs                     ·· 126£i check···                                                                                                                                                         {2oo.12
     &18- -                   -1274Check                                                                                                                                                             - 1,211.34 --- -
     &1&____           ------ -12sr-ciieck'--·----                                                                                                                                            ___ . ____ --··· ·       -940~a2·------·-· ~~;~[~o

     5/21--- -·---i282--checi<---· ---·-·                                                                                                                  -----·--- ·----------- --6,.tt6tf25 ____ _
     5!21' · ··· ··· ·· 12ss· check                                                                                                                                                · 2:soo.oo
     ~zF=·- -=:=~~-~~s-=-~=:-~~~~-~f.~~~!J..O.~~~r..:ii~~~~[jQ.Qf®.I~~?:~~--:~~~:-:==·::: -==::~~:-==.~--~··~:~~==:~                                                                                                                       ··-·--·----·
     5/21-·- -·----1'27o-ch8ck·--·------
     $.]~1_
     0122
                                       ...
         ....._..... ___ ----·~-~®__6~~~·-----
                              1249 Check
     5t22----··-- ·-------··-1273--ch"eck--·--- -
                                                                       ···-------· ·--------------1,ooo:34___ _
                                                                                                                                                 ...    ~~==~~       ........        --~-~~=-=-···--·"934:®.
                                                                                                                                                                                                     6, 100.14
                                                                                                                                                                                                                                 ______ ~!1~~?
                                                                                                                                                                                                              - a:Too:14·--·--··--
     512z- -               -i2te check                                                                                                                                                      .......................... - en.24 -·- ·- ~!zs[s.~
     5i23........            1280' ... c'heck                                                                                                                                                                          ___ 1:ii73:.i() ______ !~!.:!_~??
     5i24·-··-         -·--··-··---wr·S8Ql¥62452EmariuefM-amian76r:Q;srmrrn#1.2D5i40024si                                                                            --·--·-4oo-.oo-o:oo _____
                                           Rfb#
     5124                                  Wire Trans Svo Charge - Sequence: 120524118288 Srf#                                                                                                                           30.00
                                           0000611145720587 Trn#120524118288 Rfb#
     5124                        - ·-wife trans 5V!: alarg6~ seQ'uenr.:i:                                         12<>524062452 sliit'                                                                                   15.00
                                           Trn#120.524062452 Rib#
     5124                                 WT Seq118288 Pacific life and Life IBnf=Pacific Life and Life Srf#                                                                                                       7,000.00
                                          0000611145720587 Trn#120524118288 Rfb# ·- - -
                                       --------···-------···---·-·--·-··-----·-·· · - · - · - -
    5124                                  Online Transfer Ref mbe2Fb9lkw to Basic Business Services Pack                                                                                                     125,000.00

    5/24-··-··-                  ... ~r.!l_IA to K~~J.'~~-~~.Per ~~~~11_ ____·--······-······--···-
                                       0nline Transfer Ref #lbejwks2x'2 to Complete Advantage(Rm)
                                     ~rn.l~o K~ H~u~.~~~m Loon_!v!a_}' ~. _




   Sheet $eq   =0049584
   Sheet 00002 of 00003
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Account number: - 578                                                • May 1, 2012- May 31,2012 • Page 4 of 6
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Transaction history (continued)
                                      Check                                                                                                                                                                          oepos/fs/                          Ending r:Jally
                                   Number DosMption                                                                                                                                                                     Credits                              balance
      5124                           12$8 Check                                                                                                                                                                                          700.59
      &2s····                        ···············w-r seq-1soo19WF"Wires Fitjd:"Rfri..ii.EiiiltoiY;· sr-wr·····                                                                      ···· ··....................   1fi;OOO~OO




                                                     201.2052500134412 Trn#120525139019 Rfb#
      5125                                  - ·--w~re- riarni§.lc Chai9e- ~ SeQuence: 120s2sosi1s:fsrffi                                                                                                                                    $0.00
      5i2s········
                                                     0000611146734297 Trn#1205Z5067153 Rfb#
                                            · ······wire tr~:i"ns··s;.;;:; Charge·~ seilue.nce: 12652sb864ro sri#                                                                                                                   . . . . . 30:oo
                                                     0000611146161297
                                            -·····-----~
                                                                                       Trn#120525086403 Rfb#
                                                         ····--··--- .. -·······-------··--··••«••- ··------·-·-···---·-------··-·--·····----- .... -
      5125                                           Wfre Tram. svc Charge ~ Sequence: t20626086675 Srf#                                                                                                                                   &1.00
                                                     0000611146592297 Trn#120525086675 Rfb#
      5125                                    ·····O"riilne·::rransier.Ref".#ib&liqh84N..io··susiness.Ci1ecidn9 F'rom.iA".to.                                                                                                       ioo:·aoo:oo
                                           .·-----~~~-t~§.~~~~-L.~g_________________ -- - ------··------·-----
      5125                                        Online Transfer Ref #lbejwi2H9B to Business Checking From lA to                                                                                                                    63,000.00
                                                     Kjm
                                                     WT 8eq#8'i15ffiadficT~e afiifijffi !Bni;p.acJf!C Life and Lire Srt#                                                                                                                 500.00 .
                                                     0000611146734297 Trn#120525087153 Rfb#
      5125                                 ··- ---wtFed#oo71o.RSb"C.aankUSA.-iRrisilF-AP"iiieby_Sii# . ··-··--- -----                                                                                                                10,000.00
                                                     ooooa1114616129r Trn#1.2.0525086403 Rfb#
      5125"""                                   · · wr   Fea#oon5 c~k. ·                                f..I.A.ti=iilsni,;Eu9ene
                                                                                              $ctierAtt- The                                                                                                                        ·1s:ooo.oo ·           19,700.16
                                                     Bergstein TOJ$ Srf# 0000011146592297 Tm#1205250S6675 Rfb#
      5129                                      ---ofitlne T"rarlster RE1Y#ibBC4Hi83Jio Business cileckiii9 From iA-to -                                                                                                              2,000.00
                                                     Kjm
      5129""                                    ..... bnlilleTrarisier Ref#lb&Xilsnrj to Eil.lsineas checking From. iA" io                                                                                                            2:ooo.oo ·
                                                ·--~irll ... -----· ·- ··- ---·-- ... -----· ·•···--·--- -·· -· ·----- ··-· ------- ·-
      5130                                           WT Seq#e9913 Em-anuel Aframian /Org= Srf# Trn#120530009913                                                                                                  50,000.00
                                                     Rfb#
      5130                                      ·····w·i,:.e:r;:~·rni··~c·cii~;:ge··~·                 $eQiJei1ce·=·1205300699i3 sri#
                                                     Trn#120530069913 Rfb#
      5130                                  ··· ---onilneTransrerRef#ib&XilSvr,i6to-comi:>ieta-AdVantit9e<Rm) --- ·- ·                                                                                                               20,000.00
      5iw········ ... .. .......... ....        ..... ~'?.':". '~..t?. ..~~ ':1.~~~-~~rn.. ~::~r..~~--~?.~~-- . ..... ..... .. . .......
                                                     Online Transfur Ref #lbellrbvhjto Business Market Rate Savings
                                                                                                                                                                                   H   ••


                                                                                                                                                                                                                                    ·2c(ooo:oo
                                                     From Ckg to SVg for PR Taxes
      5130                                     ··-orinnt:t T"rarisier Rt,t"#it;eqi;tp¥817 to ausiness C"hecki"f19 f:rc>m lA -                                                                                                        10,000.00            15,745.Hl
                                            ........~ ..I<;,T:l ....................................................................................................................... .
      5iM·······                                     WT Fed#08329 PeN3hing LLC /Org=SWartz lp Services Group Inc
                                                     2.425 C Srf# Fts12.05312396600 Tm#1205~1117927 Rfb#
      5131                                  - ·--wire     trarni§.IC: CfiEir9~1 ~·seQuence: 12053ff77927sf-!1f                                                                                                                              15.00
                                                     Fts1205312396600 Trn#120531177927 Rfb#
      6/${ .               ·· · · ··1a1fcheck..                           ·· ·· ··                                                                                                                                                         51.00 . ..    2f6.~i[16
      Ending balance on $'31                                                                                                                                                                                                                            215,67$.1&
      Totals                                                                                                                                                                                          $1,083,481.50               $901,406.09
      The En dina Daily Balance does not refler;l any pending wifhdFawals or hards on rl6posit9d funds that may have boon outstEnding on your ac;count when your
      tJansactions posted. If you had msuffleient available fUnds when a transaction ~r:t. fees m1;1y have J;Joon assessoo.



Summary of checks written                           (checks listed are also displayed in the preceding Transaction history)

      Number                       Date                                    Amoant                          Number                              Data                                     Amount                          Number       Dat&                  Amount
      1164                         5115                                     787.75                         1248                                517                                      3,266.61                        1260         514                   5,179.00
      1221.                        5!1                                        790.59                       1249                                5122                                     6,100.14                        1262.        517                   3,500.00
      1226"                        5/3                                    6,100.14                         1250                                514                                      1,211.34                        126$         5!7                   2,500.00
      1241"                        S/3                                      800.00                         1251                                5'4                                      3,SS0.61                        1264         511                   9,500.00
     1242                          5116                                   1,100.04                         1252                               517                                           677.24                      1265         5115                  1,537.50
      1243                         5/4                                      940.82                         1254 ..                             517                                      1,099.34                        1267""       5/18                    940.82
      1244                        S/7                                        790.59                        1256 ..                             5'4                                      1,073.10                        1266         5/24                    790.59
     1245                          5114                                   1,280.12                         1.257                              517                                       1,822.41                        126G         5118                  1,280.12
     1246                         Sf4                                     1,099.34                         1258                               519                                      5.468.25                         1270         5/21                  1,09!).34
     1247                         513                                     7,295.58                         1259                               5'4                                      2,637.94                         1271         5118                  7,550.31
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Account number: ~
                Redac 578         • May 1, 2012 -May 31, 2012 • Page 5 of 6
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Summary of checks written (continued)
      NumbrJr             Dat&      Amount      Number           Dat&                 Amount         Number           Dal9      Amount
      1272                5/18      3,268.81    1282             51.21                5,468.25       1356             5/2       1,200.00
      1273                5122      6,100.14    1283             5116                 2,637.94       1358"'           5/4          80.48
      1274                5/18      1,211.34    1284             5118                 S,179.11       135(:}           5116         68.82
      1275                6118      3.860.61    1286•            5121                  934.00        1360             5/9       1.951.75
      1276                5122       677.24     1267             5/18                 3,500.00       1361             5/16     2S,OOO.OO
      1278*               5121      1,099.34    1288             51.21                2,500.00       1363 *           5/8       7,500.00
      1280 ..             5/23      1,073.10    1313 ..          5131                    51.00       1364             5118     12,000.00
      1281                5116      1,822.41    1355,..          511                 15,000.00

      " Gap in check sequence.



Account transaction fees summary
                                                                             Units         Excess      Service chargu per    Total sewlce
     Service charga description                     Units used           included           units         BKCess units ($)     charge($)
     Paid and DQI:'2:ited Items                             68                150                0                  tJ.SO            0.00
     Total servk:9 charges                                                                                                         $0.00




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 Account number: - 1578                                                                 • May1, 2012-May31,2012 • Page6of6
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 General statement policies for Wells Fargo Bank

 • Notice: We;ns Fargo Bank, N.A. may furnish information about accounts                                                                       You must describe the specific ilformation that is inaoourate or in dispute
 belonging to lndivi:iuals, including sole proprietorships, to consumer                                                                        a~d the basts fur any dispute with supporting documentation. In the case of
 reporting agencies. lf this applies to you, you have the ltht to (lispute the                                                                 information that ~tes to an iOOntity theft, you will need to provide us with
 accuracy of information that we have reported by writing fO us at OVerdraft                                                                   an Identity theft report.
 Collections and Recovery, P.O. Box 5058. Portland. OR 91208-5058.



 Account Balance Calculation Worksheet                                                                                                            Number                    Items Outstanding                     Amount

 1.       Use the follo~ng workshEJet to cal¢~.~1ate yo!.' ov~rall account balance.                                                                                                                                           I

 2. Go through YQUr regis3ter and mark each check, withdrawal, ATM
    transaction, payment. deposit or other crodlt listed on your statement.
                                                                                                                                                                                                                              I
    Be sure that your register shows any Interest paid into your account and
          any servioo charQ*, ai.ltomatic payment& or ATM transactions withdrawn
          from your acrount during this statement period.
 S. Oae the chart to the rlgit to list any deposi\s, transfera to your acet:lunt,
          outstanding checks, ATM withdrowals, ATM payment& or any trther
          withdrawals (Including any from previous months) which are listed ln
          your register but not shown ort your statement.

 ENTER
 A.. The ending balance
     shown on your statement. ........                                             0   ••   0       ••••••         0       •   .$ _ _ _ _ __                                                                                  !
                                                                                                                                                                                                                              I
                                                                                                                                                                                                                              I


                                                                                                                                                                                                                              I
ADD
B. Ally deposits listed in your                                                                                                $ _ _ _ __
   register ortransfera into                                                                                                   $ _ _ _ __
   your account which are not                                                                                           $ _ _ _ _ __
   ahown on your statement.                                                                                            +$ _ _ _ _ __

      •   o   •••••       o   o   o   •••••      o   •••   o   •••    o.   o ••••••     o •••            l'().TAL. $            ------                                                                                        I



CALCULATE THE SUBTOTAL
  (Add Part& A and B)

      o.      0.   o ••   o   o   ••   o.   o   •••   o.   o   •• o   ••   o •••••••        0       ••   "(()TAL.$------

SUBTRACT
c,    The total outstanding che1::ks and                                                                                                                                                                                      I

      withdrawe!s from the chart above                                       0   ••••   0.          0   •••••          ~       $ _ _ _ _ __

CALCULATE THE ENDING BALANce
      (Part A + Part B - Part C)
      This amount should bathe same


      ~~~~hC:er~::rn_~_ ~~~ . ~ ........
                                                                       1
                                                                                                0       ••••   0   -1L$...;;;;.  =====;;;;.~
                                                                                                                                                                                            Total amount $




(12010 Wells Fargo Bank, NA All rights reserved. Member FDIC.                                                  NMLS~ 10 399$01
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 Analyzed Business Checking
 Account number: ~578
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                                                                                    Questions?
                                                                                    Available by phone 24 hours a day, 7 days a week:
                                                                                     1-800-CALL·WELLS        (1-800~225-5935}


INTEGRATED ADMINISTRATION                                                           Online: wellsfargo.com
34 EXECUTIVE PARKSTE 210
                                                                                    Write: Wells Fargo Bank, N.A. (114)
IRVINE CA 92614-6756                                                                       P.O. Box 6995
                                                                                           Portland, OR 97228-6995




Account summary
Analyzed Business Checking
Account number                  Beginning balance                   Total credits                Total debits               Ending balance
llllt-57-8----------~~~~1~5.-67~9-.1-6--------~~--9.~20-0-.0-0---------~~5~~-.6~7~6-.0-8--------~~~.
Redac                                                                                               ~2.~20~3~.0-8
ted

Credits
  Electronic deposHsfbank credits
  Effective       Posted
  data            date                 Amount       Transaction detail
                  06/01                 500.00      wr Seq#91785 Pacific life and Life /Org= Srf# 2012052500087153
                                                    Trn#120601091785 Rfb#
                  06/07              35,000.00      wr Fed#04727 Bank of America/CA /Org=Graybox, LLC Srf#
                                                    2012060700155800 Tm#120607048000 Rfb#
                  06/14              !Xl,700.00     Deposit Made !n A Branch/Store
                  06!14              25,000.00      wr Fed#09664 Bank of America/CA /Org=Graybox, LLC Srf#
                                                    2012061400233139 Tm#120614109463 Rfb#
                  06115              21,000.00      Online Transfer Ref #lbexhy2Qjg From Business Market Rate Savings From
                                                    Svg to Ckg
                  06115              19,000.00      Online Transfer Ref #lbec4N63Kw From Business Market Rate Savings From
                                                    Svg to Ckg
                  06/18              20,000.00      WT Fed#09861 Bank of America/CA /Org=Gra}>box, LLC Srf#
                                                    2012061600265535 Tm#120618125522 Rfb#
                  06/21              45,000.00      wr Fed#09294 Bank of America/CA /Org=Graybox, LLC Srf#
                                                    2012062100231672 Tm#1206211 02639 Rfb#
                 06127               15,000.00      Online Transfer Ref #lbetlyw27N From Business Checking From Kjm to !A
                 06/28              100,000.00      WT Fed#04350 Pershing LLC /Org::Swartz lp Services Group Inc 2425 C Srf#
                                                    Fts1206284765900 Tm#120628097942 Rfb#
                                  $349.200.00       Total electronic depositsfbank credits

                                  $349,200.00       Total credits




      (114) Ins =3
      Sheet Seq =0000345
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Debits
 Electronic debits/bank debits
 Effective    Posted
 date         date                  Amount     Transaction detail
              06/01                   30.00    Wire Trans svc Charge- Sequence: 120601112092 Srf# 0000611153523258
                                               Trn#120601112092 Rfb#
              06/01                    30.00   Wire Trans Svc Charge- Sequence: 120601112094 Srf# 0000611153198258
                                               Tm#120601112094 Rfb#
              06/01                    30.00   Wire Trans Svc Charge- SeQuence: 120601112097 Srf# 0000611153181358
                                               Tm#120601112097 Rfb#
              06!01                    30.00   Wire Trans Svc Charge- Sequence: 120601112099 Srf# 0000611153506358
                                               Trn#12060 1112099 Rfb#
              06101                 3,461.54   Recurring Transfer Ref #Opefzi2P2B to Basic Business Services Pack From lA to
                                               Kjp Consulting Fee
              06/01                 4,837.41   Recurring Transfer Ref #Opemsny2x5 to Complete Advantage{Rm ~ From lA to
                                               K Jam House for Payroll
              06/01                18,883.00   WT Fed#08038 Jpmorgan Chase Ban fFtrfBnf=Phoenix Variable Life Insurance
                                               Srf# 0000611153523258 Tm#120601112092 Rfb#
              06!01                25,000.00   WT Fed#08049 Jpmorgan Chase Ban /Ftr!Bnf=National Financial Services LLC
                                               Srf# 0000611153506358 Tm#120601112099 Rfb#
              06/01               29,449.91    WT Fed#08039 Jpmorgan Chase Ban !Ftr/Bnf=Phoenix Variable Life Insurance
                                                Srf# OOOC-611153198258 Tm#120601112094 Rtb#
              06/01               50,000.00    Wf Fed#08045 Bank of America, N /Ftr/Bnf'""Aaron A Grunfeld Client Trust
                                               Srf# 0000611153181358 Tm#120601112097 Rfb#
              06107                    30.00   Wire Trans Svc Charge - Sequence: 120607096683 Srf# 0000611159789909
                                               Tm#120607096683 Rfb#
              06/07                    15.00   Wire Trans Svc Charge- Sequence: 120607048000 Srf#2012060700155800
                                               Tm#120607048000 Rfb#
              06/07               10,000.00    WT Seq#98683 McCarter & English /Bnf=McCarter English Srf#
                                               0000611159789909 Tm#120607096683 Rfb#
              06/08               25,000.00    WT Fed#04068 City Natbnal Bank /Ftr/Bnf=Bames Law Firm Client Trust Srf#
                                               0000611160940819 Tm#120608073388 Rfb#
              06/15                3,461.54    Recurring Transfer Ref #Opetlwchqn to Basic Business Services Pack From lA
                                               to Kjp Consulting Fee
              06/15                4,885.41    Recurring Transfer Ref #Opejwqwi7P 1o Complete Advantage(Rm) From lA to
                                               K Jam House for Payroll
             06!15                25,000.00    WT Fed#07780 City Natbnal Bank /Ftr/Bnf=Bames Law Firm Srf#
                                               0000611167994589 Tm#120615155923 Rfb#
             06{15                49,709.51    IRS Usataxpymt 061512270256714409385lntegrated Administrat
             06/15                11,754.17    Employment Devel EDD Eftpmt 061512 00613636
                                               Txp*00613638*01101*120518'T*133459"*T*1041958*T*11
             06/15                   536.19    Employment Devel EDD Eftpmt 061512 00613638
                                               Txp*00613638F01300*120630~*52087~~1532*T*53619*
             06/21                55,000.00    Online Transfer Ref #lbejwsc52G to Basic Business Services Pack From lA to
                                               Kjp to Pay Amex
             06/29                    80.77    Online Transfer Ref #lbeqpxxhr5 to Complete Advantage(Rm) From lA to Kia
                                               House Bal for PR Ck 1513
             06129                10,000.00    Online Transfer Ref #lbe2Fihqr3 to Business Checking From lA to Kjm
             06/29                40,000.00    Online Transfer Ref #lbefzsfwhn to Business Market Rate Savings From Ckg to
                                               Svg




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Account number: • •111578 • June 1, 2012- June 30, 2012 • Page 3 of 4
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 Electronic debits/bank debits (continued)
 Effective       Posted
 date            date                       Amount            Transaction detail
                 06/29                      3,461.54                    Transfer Ref #Opeqpxttkm to Basic Business Services Pack From lA
                                                              ReC'~oArring
                                                              to Kjp Consulting Fee
                 06/29                      4,837.41          Rec-urring Transfer Ref #Opetlzb6x7 to Complete Advantage(Rm) From iA to K
                                                              Jam House for Payroll
                                        $375,523.40           Total electronic debits/bank debits

 Checks paid
 Number                         Amount     Date        Number                   Amount    Date      Number               Amount     Date
 1261                           1,099.34 06/01         1309                    1,099.34 06/01       1332                5,179.11   06/15
 1266~                          1,100.04 06/01         1310                      934.00 06/01       1334"                 934.00   06/18
 1285"                          1,099.34 06/01         1311                    3,500.00 06/01       1335                3,500.00   06/15
 1290*                          1,100.04 06/18         1312                    2,500.00 06/04       1336                2,500.00   06/15
 1291                             940.82 06!01         1314~                   1,100.04 06/18       1337                  249.48   06/20
 1292                             790.59 06/04         1315                      940.82 06/15       1338                2,443.75   06/15
 1293                           1,280.12 06101         1316                      790.59 06/18       1339                3,500.00   06129
 1294                           1,099.34 06/01         1317                    1,280.12 06/15       1357"                 119.27   06/01
 1295                           7,812.97 06/01         1318                    1,099.34 06/18       1365•               9,900.00   06/05
 1296                           3,268.81 06/01         1319                    7,812.97 06120       1526"                 790.59   06/29
 1297                           6,100.14 06/11         1320                    3,268.81 06/15       1527                1,280.12   06/29
 1298                           1,211.34 06/01         1322.                   1,211.34 06/15       1529.               7,812.97   06/29
 1299                           3,860.61 06/01         1323                    3,860.61 06/15       1530                3,268.81   06/29
 1300                             677.24 06/05         1324                      677.24 06122       1532.               1,211.34   06/29
 1302"                          1,099.34 06/04         1326~                   1,099.34 06/18       1533                3,860.61   06/29
 1304~                          1,073.10 06/05         1328"                   1,073.10 06/18       1538"               1,822.41   06129
 1305                           1,822.41 06/01         1329                    1,822.41 06/15       1540"               2,637.94   06/29
 1306                           5A68.25 06/04          1330                    5,468.25 06/18       1543.                 934.00   06/29
 1307                           2,637.94 06/01         1331                    2,637.94 06/15       1544                4,311.13   06/29
 1308                           5,179.11 06/01
                                        $147,152.68        Total checks paid
 "' Gap irr check s9quenoe.

                                       $522,676.08         Total debits


Daily ledger balance summary
 Date                                     Balance      Date                               Balane&   Date                           Bafance
 05/31                                 215,679.16      06/11                           18,708.84    06/21                        17,689.96
 06/01                                  48,362.50      06/14                          112,408.84    06122                        17,012.72
 06/04                                  36,504.32      06/15                           28,417.11    06127                        32,012.72
 06/05                                  24,853.98      06/18                           35,752.41    06128                       132,012.72
 06/07                                  49,808.98     06/20                            27,689.96    06/29                        42,203.08
 06/08                                  24,808.98
                Average daily ledger balance              $2!i,953.11




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 NOTICE: Wells Fargo Bank, N.A may furnish information about accounts belonging to individuals, including sole
 proprietorships, to consumer reporting agencies. If this applies to you, you have the right to dispute the accuracy of
 information that we have reported by writing to us at: Overdraft Collections end Recovery PO Box 5058 Portland, OR.
 97208-5058. You must describe ihe specific information that is inaccurate or in dispute and the basis for any dispute with
 supporting documentation. In the case of information that relates to an identity theft, you will need to provide us with an
 identity theft report.




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All tighta N:!\lEliVOO. Member FDIC.




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Analyzed Business Checking
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Account number: -1578            • July 1, 2012- July 31,2012 • Page 1 of3
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                                                                                Questions?
                                                                                Available by phone 24 hours a day, 7 days a week:
                                                                                 1-800-CALL·WELLS (1-800·225-5935}

INTEGRATED ADMINISTRATION                                                       Online: weilsfargo.com
34 EXECUTIVE PARKSTE 210
                                                                                Write: Wells Fargo Bank, N.A. (114)
IRVINE CA 92614-6756
                                                                                       P.O. Box 6995
                                                                                       Portland, OR 97228-6995




Account summary
Analyzed Business Checking
Account number                Beginning balance                 Total cred;ts                Total debits              Ending balance
1689631578                           $42,203.06                $656,976.59                 -$677,139.23                   $22,040.44


Credits
 Electronic depositsfbank credits
 Effective     Posted
 data          date                  Amount       Transaction detaN
               07102              200,000.00      wr Fed#05898 Pershing LLC fOrg=Advisory lp Services Inc 2425 Color Srf#
                                                  Fts1207028356200 Tm#120702121055 Rfb#
               07/02               25,000.00      Online Transfer Ref #lbeqpyzh6C From Business Market Rate savings From
                                                  Svg to Ckg
               07/11              100,000.00      WT Fed#03111 Pershing LLC /Org=Advisory lp Services lnc 2425 Color Srf#
                                                  Fts1207119271700 Tm#120711 062689 Rfb#
               07/11               15,000.00      Transfer From Sav # 000006914682502
               07!11                  181.59      Deposit Made !n A Branch/store
               07/11               20,000.00      Online Loan Advance Ref #lbe87SF9W2 From Commercial Line/Loan From
                                                  Zkco Line to IAAS Advance
               07113               50,000.00      wr Fed#04246 Pershing LLC fOrg=Advisory lp Services Inc 2425 Color Srf#
                                                  Fts1207139040000 Trn#120713093231 Rfb#
               07/16               50,000.00      Online Transfer Ref #lbemt2Psvc From Personal Line of Credit From Mz
                                                  Personal Line to lA AS Advance
              07{19                35,000.00      Online Transfer Ref #lbe2Frd79F From Personal Line of Credit From Mz
                                                  Personal Line to lA AS Advance
              07/25                32,000.00      Deposit Mada in A Branch/store
              07/27               114,795.00      Deposit Made In A Branch/store
              07{30                15,000.00      Online Transfer Ref #lbeg22Jgss From Business Market Rate Savings From Svg
                                                  toCkg
                                $656,976.59       Total electronic deposits/bank credits

                                $656 1976.59      Total credits




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Debits
 Electronic debits/bank debits
 Effec:tive    Posted
 date          date                    Amount      Transaction detail
               07!02                 180,000.00    Online Transfer Ref #lbejwvws44 to Basic Business Services PaCk From lA to
                                                   Kjp to Pay Arnex
               07102                  25,000.00    WT Fed#01696 City National Bank /Ftr!Bnr-Bames Law Firm Srf#
                                                   0000611184562431 Tm#120702180514 Rfb#
               07/03                  12,009.00    Wallpoint Inc Corp Pymn FL00423512 002463\lea..1"100002463\
               07105                   1,617.00    Anthem Be RA-0201003120703 000000320103794 Sara Bergstein
               07{11                     200.55    Client Analysis Srvc Chrg 120710 Svc Chge 0612 000001689631578
               07/11                  15,000.00    WT Fed#03947 Bank of America, N /Ftr/Bnf=Graybox LLC Srf#
                                                   0000611193563212 Tm#1207111 06536 Rfb#
               07{11                  25,000.00    WT Fed#03946 HSBC BanK Bermuda fFtr!Bnt=Trott and Duncan Trust
                                                   Account Srf# 0000611193160212 Tm#120711106535 Rfb#
               07/12                  20,000.00    Online Principal Payment Ref #lbec.:4V4Zkn to Commercial line/Loan From lA
                                                   to Zkco Line Return of Advance
               07/13                   1,000.00    Online Transfer Ref #lbe5B~4Fj to Business Checking From lA to Kjm
               07/13                   3,461.54    Recurring Transfer Ref #Ope2Fpsf5C to Basic Business Services Pack From lA
                                                   to Kjp Consulting Fee
               07/13                   5,188.60    Recurring Transfer Ref #Ope2Fpsnb3 to Complete Advantage(R.rn) From lA to
                                                   K Jam House for His PR Ck
               07/13                  10,000.00    WT Fed#01308 Bank of America, N /Ftr/Bnf=Graybox LLC Srf#
                                                   0000611195580332 Tm#120713088065 Rfb#
               07/16                   5,000.00   Online Transfer Ref #lbeqq499D4 to Business Checking From lA to Kjm
               07116                 74,018.69    IRS Usataxpymt 071612 270259841912040 Integrated Administrat
               07/16                 17,944.33    Employment Devel EDD Eftpmt 071612 00613636
                                                  Txp"00613638s-01101s-120629*'P190230¥P1604203"T*17
               07/16                    445.95    Employment Devel EDD Eftpmt 071612 00613636
                                                  Txp*00613638*01300* 120630*T*43321 *T*1274*T""44595*
              07119                  35,000.00    WT Fel1#02872 HSBC Bank Bermuda fFtrfBnf=Trott and Duncan Trust
                                                  Account Srf# 0000611201392582 Tm#120719097941 Rfb#
              07/27                      68.81     Online Transfer Ref #lbemt4Y66Z to Complete Advantage{Rm) From lA to Kia
                                                  Balance of PR Ck 1580
              07127                   3.461.54    Recurring Transfer Ref #Ope5Bvgpj7 to Basic Business Services Pack From lA
                                                  to Kjp Consulting Fee
              07{27                   5,188.60    Recurring Transfer Ref #Opemt4Vwkw to Complete Advantage(Rm) From lA
                                                  to K Jam House for His PR Ck
              07127                  10,000.00    wr Fed#00767 Bank of America, N /Ftr/Bnf=Graybox: LlC Srf#
                                                  0000611209137063 Tm#120727119223 Rfb#
              07/30                  40,000.00    Online Transfer Ref #lbeqq6V3Qh to Business Market Rate Savings From Svg
                                                  to Ckg Via Mobile
              07/30                  14,000.00    Online Transfer Ref #lbejx3Vhx5 to Business Checking From lA to Kjm
              07/30                  15,000.00    Wf Fed#02952 Jpmorgan Chase Ban !Ftr!Bnf-=Focus Advisory Services LLC
                                                  Srf# 0000611212920273 Tm#120730102667 Rfb#
                             $518,604.61          Total electronic debits/bank debits




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    Checks paid
    Number                          Amount    Date       Number                Amount     Date   Number              Amount      Date
    1321                           6,100.14 07102        1545"               1,100.04    07(16   1569                 790.59    07/30
    1325*                            549.02 07/11        1546                   940.82   07/13   1570               1,280.12    07/27
    1333*                          1,099.34 07102        1547                   790.59   07116   1571               1,099.34    07/31
    1340*                          2,500.00 07/02        1548                 1,280.12   07/13   1572               7,812.97    07127
    1341                           31500.00 07/13        1549                 1,099.34   07/13   1573               3,268.81    07/30
    1342                           2,500.00 07/13        1550                7,812.97    07/13   1575'              1,211.34    07127
    1343                           2,418.75 07/17        1551                3,268.81    07113   1.576              3,860.61    07/30
    1344                           3,500.00 07/30        1552                6,100.14    07/19   1577                 677.24    07/31
    1345                           2,500.00 07127        1553                1,211.34    07/13   1581'              1,073.10    07/31
    1367*                          2,272.64 07/05        1554                3,860.61    07/13   1582               1,822.41    07127
    1374"                          5,000.00 07/25        1555                   677.24   07/13   1584.              2,637.94    07/30
    1524*                          1,100.04 07/16        1556                   549.02   07/17   1585               5,179.11    07/31
    1525                             940.82 07/02        1557                1,099.34    07/16   1587"                934.00    07/27
    1528*                          11099.34 07/02        1559"               1,073.10    07113   1588               5,161.66    07/27
    1531*                          6,100.14 07/02        1560                1,822.41    07/13   1589                 448.08    07127
    1534*                            677.24 07/02        1561                5,468.25    07/17   1590                 373.87    07/27
    1536 ..                        1,099.34 07/02        1562                2,637.94    07/13   1591               3,084.33    07/30
    1537                           1,073.10 07/02        1563                5,179.11    07/13   1592               2,873.36    07/31
    1539*                          5,468.25 07/09        1565"                  934.00   07/13   1593               2,228.64    07/31
    1541"                          5,179.11 07/02        1566                5,161.66    07113   1595*              1,966.41    07/30
    1542                           1,099.34 07/02        1568~                  940.62   07/30   1596               1,966.41    07/30
                                           $158,534.62       Total checks paid
     "' Gap bt oheck SftqUEmO<t.

                                          $677' 139.23       Total debits


 Daily ledger balance summary
    Date                                     Balance     Date                           Balance Date                             Balance
    06/30                                  42,203.06     07/11                       108,300.30 07/19                           9,655.55
    07/02                                  35,235.17     07/12                        88,300.30 07/25                          36,655.55
    07/03                                  23,226.17     07/13                        75,690.69 07127                         111,187.15
    07/05                                  19,336.53     07/16                        24,191.71 07/30                          35,171.23
    07/09                                  131668.28     07/17                        15,755.69 07/31                          22,040.44
                     Average daily ledger balance            $39,689..24


NOTICE: Wells Fargo Bank, N.A. may furnish information about accounts belonging to individuals, including sole
proprietorships, to consumer reporting agencies. If this applies to you, you have the right to dispute the accuracy of
information that we have reported by writing to us at Overdraft Collections and Recovery PO Box 5058 Portland, OR.
97208-5058. You must describe the specific information that is inaccurate or in dispute and the basis for any dispute with
supporting documentation. In the case of information that relates to an identity theft, you will need to provide us with an
identity 1heft report.




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